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             UNITED STATES
• · INTERNATIONAL TRADE-COMMISSION
    In the Matter of:                 ) Investigation No.:
    CERTAIN COLOR INTRAORAL SCANNERS  ) 337-TA-1091
    AND RELATED HARDWARE AND SOFfWARE )




                                           OPEN SESSIONS




•   .Pages: 633- 911 (with excerpts)
     Place: Washington, D.C.
     Date: Wednesday, September 19, 2018


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          1                       UNITED STATES OF AMERICA

          2                              BEFORE THE

          3                   INTERNATIONAL TRADE COMMISSION

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          5   - - - - - - -        - - - - - - - - X

          6   IN THE MATTER OF:                        Investigation Number

          7   CERTAIN COLOR INTRAORAL SCANNERS         337-TA-1091

          8   AND RELATED HARDWARE AND SOFTWARE

          9        - - - - - - - - - - - - - - - X

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         11

         12                                HEARING

         13                                 DAY 4

         14

         15

         16                        Wednesday, September 19, 2018

         17                        Courtroom A

         18                        U.S. International Trade Commission

         19                        500 E Street SW

         20                        Washington, DC

         21

         22              The hearing commenced, pursuant to notice of the

         23   Judge, at 9:00 a.m., before the Honorable CLARK CHENEY,

         24   Administrative Law Judge for the United States




•
         25   International Trade Commission.



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           2
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         23

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         25                                                 - continued -



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          1   APPEARANCES (CONTINUED):

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          3   take your seats.
                                    P R O C E E D I N G S

                            JUDGE CHENEY:     Good morning, everyone.

                                   We're on the record in Investigation
                                                                        Please



          4   1091.    We're in the middle of the evidentiary hearing.         We

          5   left off yesterday with the examination of Dr. Stevenson.

          6   Before we resume that examination today

          7                 MR. JACOBS:     Your Honor, we had concluded the

          8   discussion with Dr. Stevenson.        We were talking with

          9   Mr. Bakewell when we left off yesterday on direct.

         10                 JUDGE CHENEY:     Thank you very much for

         11   correeting me.     Yes, we did get Mr. Bakewell going.       And do




•
         12   we have any housekeeping matters to talk about before we

         13   resume that testimony today?

         14                 MR. JACOBS:     Not on behalf of Complainant, Your

         15   Honor.

         16                 MR. SHAW:     Nor from Respondents, Your Honor.

         17                 JUDGE CHENEY:     No exhibits need to be moved into

         18   evidence?

         19                 MR. SHAW:     Your Honor, there was a list that was

         20   sent over last night.       It was a little late and we're still

         21   reviewing them, so we've agreed to meet and confer at a

         22   break and we'll move them in as soon as we have a chance to

         23   finish our review of the list.

         24                 JUDGE CHENEY:    Anything to add to that, Mr.

         25   Stockstill?



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                            MR. STOCKSTILL:     NQ.   Complainants hav� the list

              that they believe should be moved in, and we understand

              Respondents are still considering.

          4                 JUDGE CHENEY:     Okay.   Thank you for your efforts

          5   to make that as coordinated as possible.

          6                 So we're ready to go with Mr. Bakewell?

          7                 Mr. Bakewell, will you please return to the

          8   witness box.     As you're making your way up, I'll remind you

          9   that you're still under oath.

         10                       W. CHRISTOPHER BAKEWELL,

         11   having been previous duly sworn, was examined and testified -

         12   as follows:

         13                    DIRECT EXAMINATION (CONTINUED)

         14   BY MS. ONDRICK:

         15         Q       Welcome back, Mr. Bakewell.     If we could put

         16   CDX-9.15 up on the screen, I wanted to take care of one

         17   quick housekeeping item.        For the record --

         18                 MS. ONDRICK:    Can we go on the confidential

         19   record?   Align confidential.

         20                 JUDGE CHENEY:     This is Align confidential

         21   information.     If you're not authorized to view that, please

         22   leave the hearing room.

         23                 (Confidential session follows.)

         24

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                        THE WITNESS:
                                    OPEN SESSION CONTINUED

                                       Should I answer the question?

                            JUDGE CHENEY:   We're on the public record, and

          4   the pending question is, Can we go to the next slide.

          5         A       Yes.

          6         Q       What are you showing here at CDX-9.52?

          7         A       This summarizes the issues with bond that make

          8   it not possible to do a product comparison in a way that

          9   yields a royalty rate.

         10                 The companies fundamentally have different

         11   business models .even though they compete with one another.




•
         12   3Shape sells through distributors, whereas Align has a

         13   direct sales model.

         14                 Diversions, both companies have different

         15   versions of their products.

         16                 And then Align, as we've heard a lot about,

         17   tries to create value by combining its scanners and

         18   Invisalign system together.      3Shape's business model is

         19   very different in that it seeks to leverage the value of

         20   scanners and doesn't have the same digital ecosystem type

         21   of model that Align does.

         22         Q       Under what circumstances do you understand a

         23   reasonable royalty approach to be appropriate?

         24         A       Well, you need reliable data to do a product

         25   comparison.     Neither myself nor Respondents' expert,



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               Mr. Green, have been able to find that sort of product.

               comparison information.

                            And then you need -- or in the alternative, you

           4   would need some sort of reasonable royalty analysis, and

           5   neither he nor I found the evidence that would permit that

           6   either.

           7         Q      Did you review any licenses?

           8        A       There's one license, yes.

           9         Q      And was that a comparable license?

          10         A      No.     It's different, involves different

          11   technology, and it's a related party intercompany




•
          12   agreement.     That's very different than the situation here.

          13         Q      Is it your opinion that a bond rate cannot be

          14   readily calculated using a reasonable royalty analysis?

          15         A      Yes.

          16         Q      And do you believe that a 100 percent bond is

          17   appropriate?

          18         A      Well, it would follow up.       Ultimately, it's up

          19   to the Commission to make that determination.        But as I

          20   understand the way the process works, it would follow that

          21   that's the decision that will be made, as I understand the

          22   process.

          23         Q      Okay.     And if we could go to CDX-9. 53.

          24                And so this is the list of exhibits that we just




•
          25   called out and counsel objected to that basically summarize



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           1   the groupi�gs and the financial analysis and data that you

           2   analyzed in this case, correct?

           3           A     Yes.

           4           Q     And if we could go to CDX-9. 4, what does this

           5   slide show?

           6           A     This provides a summary of the exhibits that

           7   were referenced in the slides that we discussed earlier and

           8   in my analyses.

           9           Q     And have we covered all your opinions in this

          10   case?

          11           A     I believe so, yes.




•
          12                 MS. ONDRICK:    I pass the witness.

          13                 JUDGE CHENEY:   Is there cross-examination for

         ,14   Mr. Bakewell?

          15                 MR. GANGULY:    Yes, Your Honor, there is.

          16                 Can we go to CDX-9. 18, please.

          17                 And, Your Honor, we would request to go on the

          18   confidential record.     This is Align confidential financial

          19   information.

          20                 JUDGE CHENEY:    Okay.

          21                 (Confidential session follows. )

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                                     OPEN SESSION CONTINUED

                            JUDGE CHENEY:    That's all the questions I have.

                Might make sense to take our break for the morning.       Will

            4   there be redirect?

            5               MS. ONDRICK:    There is.

            6               JUDGE CHENEY:    I'll remind you during the break

            7   not to discuss your testimony with anyone.       We will resume

            8   at 10:57.   We're off the record.

            9               (Recess from 10:43 a.m. until 10:58 a.m.)

           10               JUDGE CHENEY:    We're back on the record in

           11   Investigation -- back on. the public record in Investigation




•
           12   33 7-TA-1091, Certain Color Intraoral Scanners and Related

           13   Hardware and Software.

           14               Before the break I had asked Mr. Bakewell some

           15   questions, and now I think we're going to have some

           16   redirect by Align.

           17                         REDIRECT EXAMINATION

           18   BY MS. ONDRICK:

           19        Q      Mr. Bakewell, as to segment reporting or

           20   activities-based costing, which better captures how

           21   companies allocate their resources between products?

           22        A      I think they're both valid.       I think that for

           23   this exercise, the activities-based costing types of

           24   analyses are maybe a little more insightful.       But I think

           25   they both provide insight into the business and how it's



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                       Q

               is better?
                            And why do you say the activities-based costing



           4         A      Because

           5           Q    Or more insightful, I should say.

           6         A      Well, it's additional work beyond what's in the

           7   financial statements, and we're getting more insight into

           8   the business by talking to managers about what they do and

           9   what the numbers mean and how value is created.      We're

          10   asking questions in that exercise that relate to specific

          11   investments, which I think is what the ITC ultimately wants

          12   to know is what the drivers are behind those specific




•
          13   investments.    And you don't have that level of granularity

          14   in the financial statements and in financial accounting.

          15   So it just provides more -- kind of a deeper dive into the

          16   numbers and provides additional context.

          17           Q    Counsel asked you some questions about some of

          18   your comparison slides showing further significance, and

          19   counsel asked you if those slides showed both DI products.

          20                Do you recall that?

          21         A      Yes.

          22           Q    Did you do comparisons for each DI product as

          23   well?

          24         A      Yes, I did.




-
          25           Q    And were those at slides 47 and 48, if we could



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                put those up?

                            JUDGE CHENEY:   We're on the public record.

            3               MS. ONDRICK:    Can we please go on the

            4   confidential record.    Thank you, Your Honor.

            5               JUDGE CHENEY:    This is Align confidential

            6   information?

            7               MS. ONDRICK:    Yes.

            8               (Confidential session follows.)

            9

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           3   BY MS. ONDRICK:
                                     OPEN SESSION CONTINUED .

                             JUDGE CHENEY:    Back on the public record.



           4          Q      Counsel also showed you Align's 10-K, and there

           5   were two facilities there that weren't called out in one of

           6   your slides.     Do you recall identifying that?

           7          A      Yes.

           8          Q      Why were those two facilities in Amsterdam and

           9   China not shown?

          10          A      Those are a little bit different.       They

          11   certainly exist, but those facilities are more oriented, as

          12   I understand it, towards serving local markets, and are




-
          13   less comparable.      And I also have less information about

          14   those.     So the comparisons I didn't think were particularly

          15   meaningful because of the differences, and then also the

          16   lack of information.      So there's two reasons.

          17          Q     Okay.

         18                 MS. ONDRICK:     And then, Your Honor, we also did

         19    not identify one exhibit on the exhibit march-through we

         20    had.

         21           Q     So CX-1360, which is the TechNavio report.      Did

         22    you consider that in forming your opinions in this case?

         23           A     Yes.

         24                 MS. ONDRICK:     No further questions.

         25                 JUDGE CHENEY:    Any other questions for this



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               witness be{ore he is released?

                            MR. GANGULY:

                            JUDGE CHENEY:
                                             No, Your Honor.

                                              Okay.

           4                Thank you, Mr. Bakewell.       I appreciate your

           5   testimony.    You may be excused.

           6                THE WITNESS:     Thank you.

           7                (Witness excused.)

           8                JUDGE CHENEY:     My understanding is that now

           9   we're going to turn to the presentation of Respondents'

          10   witnesses.    Is that right?

          11                MR. JACOBS:     That's our understanding, Your

          12   Honor.




-
          13                JUDGE CHENEY:     Respondents, please call your

          14   first witness.,
          15                MR. SHAW:     So, Your Honor, just for your

          16   information, we have met and conferred with the

         17    Complainants and we have made a slight change to the order

         18    of presentation of Respondents' fact witnesses.        If you'd

         19    like me to, I'll let you know what that's going to be.

         20                 JUDGE CHENEY:    Is there an updated sheet that I

         21    should be looking at?

         22                 MR. SHAW:   We just agreed on this this morning,

         23    Your Honor, so the sheet has not been updated yet, but I

         24    can tell you the order.




•
         25                 JUDGE CHENEY:    Okay.



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           1               MR. SHAW:     So our first witness is going to be

           2   Dr. Rune Fisker, second is going to be Christoffer

           3   Melchior, third is going to be Kristian Hansen, fourth is

           4   going to be Alan Hyldal, and fifth is going to be Dr. Mike

           5   van der Poel.   The parties have agreed that Mr. Tais

           6   Clausen is currently going to be moved to Friday, and we

           7   are still meeting and conferring about whether we are going

           8   to call him or not.

           9               JUDGE CHENEY:     Okay.

          10               MR. SHAW:     So Respondents call Dr. Rune Fisker.

          11               JUDGE CHENEY·:    Please raise your right hand and




•
          12   I'll swear you in.

          13               (Oath administered.)

          14               JUDGE CHENEY:     Please take a seat.

          15               Mr. Shaw, proceed when you're ready.

          16                              RUNE FISKER,

          17   having been first duly sworn, was examined and testified as

          18   follows:

         19                            DIRECT EXAMINATION

         20    BY MR. SHAW:

         21         Q      Please state your name.

         22         A      Rune Fisker.

         23         Q      Who is your current employer, Dr. Fisker?

         24         A      3Shape A/S.

         25         Q      Can you please briefly describe your educational



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           1   background?

           2        A        I have a master and a Ph.D. in computer science

           3   from Technical University of Denmark, and I also have an

           4   executive MBA from Copenhagen Business School.

           5        Q        And how long have you worked for 3Shape?

           6        A        Since 2000.    I was the first employee.

           7        Q        And what is your current title?

           8        A        VP of product strategy.

           9        Q        Are you responsible for any of 3Shape's business

          10   units currently?

          11        A        Yes.

          12        Q        Which ones?




-
          13        A        I'm responsible for the restorative lab business

          14   unit and for the TRIOS restorative clinic business ,unit.

          15        Q        When did 3Shape start thinking about entering

          16   the dental industry?

          17        A        It was right from the start, around 2000.

          18        Q        When did 3Shape start development of your first

          19   dental product?

          20        A        Around 2003.

          21         Q       Which product was that?

          22         A       This was a dental labs desktop scanner.

          23         Q       What is a dental lab desktop scanner?

          24         A       You basically have a scanner on the desktop, and

          25   you scan the gypsum model or impressions of the patient's



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           1   teeth.

           2        Q      And does 3Shape still sell lab scanners?

           3        A      Yes.

           4        Q      How does a lab scanner compare to a TRIOS

           5   scanner?

           6        A      The lab scanner basically scans gypsum models or

           7   impressions of the patient teeth, where the TRIOS scanner

           8   scans directly in the mouth, intraorally.

           9        Q      Is there any software associated with 3Shape's

          10   lab scanners?

          ll        A      Yes.




•
          12        Q      What is that?

          13        A      This is called 3Shape Dental System.

          14        Q      Can you describe 3Shape Dental System briefly?

          15        A      Yeah, it's a CAD/CAM software where you can

          16   design restorative indications like crowns, bridges,

          17   inlays, onlays, veneers, et cetera.

          18        Q      Did you look at any competitor's products in

          19   designing your dental lab scanners?

         20         A      Yes, we always look at competitor product to

         21    make a better and more competitive and superior product.

         22         Q      And you mentioned before restorative dentistry.

         23    Does restorative dentistry involve moving patients' teeth?
         24         A     No.

         25         Q      Does Dental System software move patients'



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           2
               teeth?

                    A      No.

           3        Q      Does 3Shape have any software for orthodontics?

           4        A      Yes.

           5               MR. JACOBS:     Objection, leading, Your Honor.

           6               JUDGE CHENEY:    Overruled.

           7        Q      What is that orthodontic software called?

           8        A      This is called 3Shape Ortho System.

           9         Q     Can a customer purchase Dental System without

          10   also purchasing Ortho System?

          11        A      Yes.   This is the typical case.




•
          12         Q     And if a customer wanted both Dental System and

          13   Ortho System, is that an option?

          14        A      Yes.   They can buy this as a bundle.

          15         Q     When a customer purchases that Dental System and

          16   Ortho System bundle, do the two software systems act as one

          17   product?

          18        A      No, they remain independent.

          19         Q     Can you please turn in your witness binder there

          20   to Exhibit JX-225C.

          21         A     Yes.

          22         Q     Do you recognize this document?

          23        A      Yes.

          24         Q     What is it?

          25         A     This is the 3Shape Dental System 2017 user




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           3
               manual.

                    Q       Can you please turn to the Bates page

               3Shape_ITC_6317.

           4        A        Yes.

           5        Q       And on that page begins a table of indications.

           6   Can you describe what are indications?

           7        A       So indications are the different treatments you

           8   can use       yeah, you can design with the Dental System.

           9        Q       And if you turn to Bates page 6318, one of the

          10   indications is labeled Orthodontics/Orthodontic Appliances.

          11   Do you know what that refers to?




-
          12        A        Yes.    This refer to the Ortho System appliances

          13   interface.

          14        Q       AB.d in that case, the Ortho System appliances is

          15   referred to          or the Ortho System software, I'm sorry, is

          16   referred to as an add-on.        Can you describe what "add-on"

          17   means in this case?

          18        A       Yeah, so you have the basic Dental System

          19   packet, software packets, and then you have add-ons where

          20   you can do additional designs.

          21        Q        Is there more than one type of add-on to Dental

          22   System?

          23        A       Yeah.     There are two types of add-ons, there are

          24   the add-ons that is built in with the Dental System and




•
          25   then the add-ons that are independent software packages.



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                    Q       And what is the difference between the built-in

               add-ons and separate add-ons?

                    A       This is basically that it's a separate -- yeah,

           4   that you can -- that you build in as a part of the software

           5   when they are in the -- they build in add-ons, and then you

           6   have the, again, the separate software packages that are

           7   completely independent software packages.

           8        Q       Which separate software packages are independent

           9   of Dental System but listed as add-ons there?

          10        A       It is the Ortho System and the Implant Studio.

          ll        Q       Why do you call both the built�in add-ons and




•
          12   the separate package add-ons in the manual?

          13        A       To make it easier to communicate to the

          14   customer, the end user.

          15        Q       Does Dental System interface with 3Shape's Ortho

          16   Analyzer software?

          17        A       No.

          18        Q       Can Dental System invoke any orthodontic

          19   workflows?

          20        A       Yes.   It can launch the Splint Designer.

          21        Q       Does Dental System invoke any other orthodontic

          22   workflows?

          23        A       No.

          24        Q       Can you briefly describe the Splint Designer?




•
          25        A       Yes.   So Splint Designer is a CAD software for



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               designing dental splints.    A splint is a small applia�ce, a

               small device that you put between the teeth.

                           MR. SHAW:   Your Honor, we're going to need to go

           4   on the 3Shape confidential record just to discuss a couple

           5   software specifications quickly.

           6               JUDGE CHENEY:   Is it at such a low level that

           7   people that use 3Shape software wouldn't know it?

           8               MR. SHAW:   The people who use the software would

           9   know it, Your Honor, yes.

          10               JUDGE CHENEY:   Aren't they members of the

          11   public?




•
          12               MR. SHAW:   Your Honor, can I confer with my

          13   client for a second?

          14               JUDGE CHENEY:   Sure.

          15               MR. SHAW:   Thank you.

          16               We can stay on the public record, Your Honor.

          17               JUDGE CHENEY:   Great.   Thanks.

          18         Q       Can you please turn, Dr. Fisker, in your binder

          19   to JX-223C.

          20        A      Yes.

          21         Q     Do you recognize this document?

          22        A      Yes.   This is the software specification for

          23   Dental System 2017.

          24         Q     Can you please turn to the Bates page 9379.




•
          25        A      Yes.



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           1       . Q       And there's a box near the center of the page in

           2   the third row labeled Orthodontics Interface.       Do you

           3   understand what orthodontics interface means in this

           4   context?

           5        A        Yes.   This is the Splint Designer.

           6        Q        And on that same page in JX-223C, the

           7   Orthodontics Interface box mentions something called

           8   S80016.     Do you understand what that is?

           9        A        Yes.

          10        Q        What is it?

          11        A        This is the software specification for that

         12    particular orthodontic interface.




-
         13         Q       Can you please turn in your witness binder to

          14   JX-226C,.   Do you recognize this document, Dr. Fisker?

          15        A       Yes.

         16         Q       What is it?

         17         A       This is, again, the software specification for

         18    the orthodontic interface we saw on the previous page.

         19         Q       And does Exhibit JX-226C indicate anything about

         20    the scope of the orthodontics interface in Dental System?

         21         A       Yes.    If you go a little bit on the lower part

         22    of the page, something called orthodontic order creation

         23    82, and I'm just going to read it.      The user must be able

         24    to select the following orthodontic types for the order in




•
         25    the order form module.      And then it lists the types and it



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               says, only splints.

                     Q       Is there anything else in JX-226C regarding the

           3   scope of the orthodontics interface in Dental System?

           4        A        Yes.   If you turn the page.

           5        Q        What does that indicate to you, sir?

           6        A        If you look again at S2.l, you can say it's

           7   create an order with a splint indication.       And again, it

           8   shows that it can only do splints.

           9        Q        Under that verification protocol, are there any

          10   other orthodontic indications tested besides splints?

          11       ·A        No.
          12        Q        Do you know why no other orthodontic indications




-
          13   are tested?

          14        A        Because there are no other orthodontic

          15   indications accessible from Dental System.

         16         Q        You mentioned that you're responsible for the

         17    TRIOS business unit.      Do you recall that?

         18         A      Yes.

         19         Q      Did you have any role in the development of

         20    TRIOS?

         21         A      I was managing the development.

         22         Q     And what year did that development first start?

         23         A     2007, 2008.

         24         Q     And at the start of TRIOS development, were any

         25    other 3Shape employees involved?



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           2
                    A

                    Q
                           Yes.   Engineer called Carsten Nielsen_.

                           At some point in time did that change?

           3        A      Yes.   We hired Mike van der Poel.

           4        Q      When was that?

           5        A      In early 2009.

           6         Q     How was the TRIOS development project going

           7   before Dr. Van der Poel joined 3Shape?

           8        A      Very slow.

           9         Q     How did the project go after you hired Dr. Van

          10   der Poel?

          11        A.     It really picked up.

          12         Q     Why was that?




-
          13        A      Because Mike has a very strong background in

          14   optics, so he has a Ph.D. and was also an associate

          15   professor in optics.

          16         Q     Did any 3Shape, Inc. employees provide any input

          17   to TRIOS technical development?

          18        A      No.

          19        Q      Did any former Cadent or Align employees provide

          20   any input to TRIOS technical development?

          21        A      No.

          22        Q      Did 3Shape copy any Cadent patents in developing

          23   its TRIOS scanner?

          24        A      No.

          25        Q      Did 3Shape copy iTero in developing its TRIOS



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               scanner?

                       A    No.

                            Did 3Shape review any competitor products during
                       Q

           4   development of TRIOS?

           5           A    Yes.     We always review products.   So we

           6   reviewed -- were reviewing the market leader, which was

           7   Sirona CEREC.       We reviewed the 3M scanner, known as Brontes

           8   at that time.       We reviewed the E40.

           9                (Reporter interruption.)

          10           A   So we reviewed the CEREC system, which was the

          11   market leader at that time.       We reviewed the 3M scanner




•
          12   known as Brontes at that time.       We reviewed the E40

          13   scanner.    We reviewed also, of course, the iTero and

          14   several other products like ImageT [ph] and so on.

         15            Q   Why did you review those competitive products?

         16            A   Because we believe it's very important product

          17   management to review competitors, to build superior and

         18    better products.

         19            Q   When was the optical design of TRIOS decided

         20    upon?

         21            A   Summer 2009.

         22            Q   How do you recall that?

         23         A      Because it was a very important milestone and

         24    was shortly after Mike started.

         25                Did 3Shape ever purchase or obtain a



-
                    Q



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               competitors' intraoral scanner before the optical design of

               TRIOS was decided upon?

                      A     No.

           4          Q     Subsequent to that, have you ever opened up any

           5   competitive scanners?

           6          A     Yes.

           7          Q     And before the TRIOS optical design was decided

           8   upon

           9          A     No.

          10          Q     - - did you open up any competitive scanners?

          11          A     Not before the design was decided on.




•
          12          Q     And after the design was decided upon, which

          13   competitive scanners did you open up?

          14          A     iTero and CEREC, Sirena CEREC.

          15          Q     I'd like to talk specifically about opening up

          16   the iTero.    How many times have you been involved in

         17    opening up an iTero scanner?

          18          A     One time.

          19          Q     And when and where did that occur?

          20          A     This was in 2010, summer 2010, at Cordent in

         21    Holland.

         22           Q     What is Cordent?

         23           A     Cordent is our 3Shape re-seller in Holland.

         24           Q     What did you do specifically during the review

         25    of iTero at Cordent?



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                       A       We were scanning ourselves initially, and then

               we opened up the handheld and the Cart.

                       Q       Did you open up the handheld far enough to see

           4   the details of the optical system?

           5           A       No.
           6           Q       And why couldn't you open up the iTero far

           7   enough to review the optical system?

           8           A       Because it should be fully functional

           9   afterwards.       Cordent was using it on a daily basis.

          10           Q       And at the end of your inspection, were you, in

          11   fpct, able to put the iTero back together so that it was




•
          12   functional?

          13           A       Yes.

          14           Q       Are you familiar. with 3Shape's R&D and product

          15   development efforts for TRIOS?

          16           A       Yes.

          17           Q       Can you describe the TRIOS product release

          18   timeline that resulted from 3Shape's R&D efforts?

          19           A       Yeah.    So we have launched the TRIOS color in

          20   2013.       We launched the TRIOS 3 in 2015.   We launched the

          21   first TRIOS wireless control scanner in the world in 2015.

          22   Sorry, in 2017.         We also launched a new cart called the

          23   Move in 2018.         And we also innovated what we call the part

          24   where you can work with a laptop already in 2013.

          25           Q       Do you know whether TRIOS has won any industry



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           2
               awards?

                      A        We have won many awards.

                               Can you describe a couple of the more important
           3          Q

           4   awards?

           5          A        Yes, I believe it's called the Cellerant award,

           6   was best technology award which we have won five times in a

           7   row.       We have also won the Red Dot award for extraordinary

           8   design and usability in 2018.

           9          Q       Switching gears a little bit, have you ever

          10   personally discussed patents with anyone from Cadent or

          11   Align?




•
          12          A       Yes.

          13          Q       And who was that with?

          14          A       Avi Kopelman.

          15          Q       And when and where did that conversation occur?

          16          A       This was in Canada, October 2015.

         17           Q       Can you briefly describe the conversation?

          18          A       Yeah.    So we had been presenting, both of us,

         19    and then we were discussing in a group afterwards, and Avi

         20    was saying that we were violating -- TRIOS was violating

         21    the iTero patents.

         22           Q       And are you aware that an interface between

         23    TRIOS and Invisalign opened in 2016?

         24           A       Yes.

         25                   Pursuant to that integration, could Align track



-
                      Q




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               which scanned f.iles came from a TRIOS scanner?

                    A      Yes, they could both see it came from the 3Shape

               cloud and there's a tag in the actual STL file.

           4                (Reporter interruption. }

           5        A      There's a tag, a small tag saying 3Shape in the

           6   STL file, which is the scan file.        And there was also the

           7   cloud.    So you could see when it comes into the cloud, from

           8   the 3Shape cloud into the Align cloud.

           9        Q       Did you follow whether or not the

          10   TRIOS/Invisalign interface was successful?

          11        A      Yes.




•
          12         Q      And how did you do that?

          13        A       We got the regular update in management.

          14         Q      And what was your perception of the

          15   TRIOS/Invisalign integration?

          16        A       It was very successful.

          17         Q      And during that integration, did you personally

          18   ever think Align would sue 3Shape for patent infringement?

          19        A       No.

          20         Q      Are you aware that after filing this case, Align

          21   announced termination of the TRIOS/Invisalign interface?

          22        A       Yes.

          23         Q      Prior to that announcement, did 3Shape

          24   management ever discuss the possibility of Align closing

          25   the interface?



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e·          1

            2
                     A

                      Q
                             Yes.

                             Why would you discuss that?

            3        A       Because I believe it's very good management that

            4   you consider for different scenarios both positive and

            5   negative.

            6        Q       Prior to the termination announcement of the

            7   TRIOS/Invisalign interface, did you personally think that

            8   Align would close that interface?

            9        A      No.

           10        Q       Can you please turn in your witness binder to

           11   JX-204C.    And de you see on page 1 there's an e-.mail from




•
           12   Alan Hyldal that starts in the middle of the page?

           13        A       Yes.

          14         Q      Can you please describe the context o f that

           15   e-mail?

           16        A      Yes.    This was one of the status updates we got,

          17    and we were so successful with this that we were predicting

          18    that 15 percent of all Align cases would come from TRIOS by

          19    end of 2017.

          20         Q      And you respond at the top of the first page by

          21    e-mail, and you say, really impressive, and it makes close

          22    to impossible for Align to close us down.

          23                What did you mean by that?

          24         A      With such a large number of customers, I could

          25    not imagine that Align would treat their own customers so



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           1   bad and shut down that interface.

           2                 MR. SHAW:      Pass the witness, Your Honor.

           3                 JUDGE CHENEY:     Okay.   Any cross- examination o f

           4   Mr. Fisker?

           5                 MR. JACOBS :    Yes, Your Honor.

           6                 JUDGE CHENEY:     Please proceed.

           7                 MR. JACOBS:     Thank you very much, Your Honor.

           8                             CROSS-EXAMINATION

           9   BY MR. JACOBS:

          10        Q        Good morning, Dr. Fisker.       It's good to see you

          11   again.




•
          12        A        Good morning.

          13        Q        I want to start out with something you said at

          14   the beginning of your testimony.         You said that 2009 was

          15   somewhat of an inflexion point at 3Shape when Dr. Van der

          16   Poel was hired; is that correct?

          17        A        Yes.

          18        Q        So if Dr. Van der Poel tells us something about

          19   the operation or the functionality of the TRIOS, we should

          20   take his word at that, correct?

          21        A        Yes.

          22        Q        Okay.    Now, 3Shape was aware of Cadent patents

          23   in 2007.

          24                 That's true, isn't it, sir?

          25        A        Yes.



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                     Q     . And you can agree �hat that was fairly early in
               the development process of the TRIOS, right?

                    A       Yes.

           4        Q       And there were internal discussions at 3Shape

           5   where significant concerns were raised about Cadent

           6   patents.

           7                Fair enough?

           8        A       Yes, we did a lot of freedom-to-operate

           9   analysis.

          10        Q       True.

          11                No lawyers were. involved in that, right?




•
          12   Correct, sir?

          13        A       Patent agents, internal patent agents.

          14        Q       Thank you, sir.

         15                 So 3Shape engineers, including yourself, did a

          16   search, and you identified what would be described as key

          17   Cadent patents.

         18                 That's true, isn't it?

         19         A       Yes.

         20         Q       And 3Shape engineers discussed these key Cadent

         21    patents internally, true?

         22         A       Yes.

         23         Q       So it's fair to say that 3Shape as a company
         24    wants to avoid infringing patents, correct?

         25         A       We don't want to -- yes.       We don't want to



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           1   infringe patents.

           2        Q       But you understand at the same time that a

           3   company can still infringe a patent even if it wants to

           4   avoid infringing a patent?

           5                You understand that, right?

           6        A       Yes.

           7        Q       So if you could, Dr . Fisker, I'm going to ask

           8   you to turn to JX-0235C.       You should have a binder from us

           9   as well, and I'm going to pull this up.

          10                JUDGE CHENEY:     I don't think binders have been

          U    distributed for your cross.




•
          12                And I j ust don't know how we would cross-examine

          13   without a binder.

          14                MR. JACOBS:     I agree, Your Honor.

          15                THE WITNESS:     Would you repeat the number?

          16                MR. JACOBS:     Yes.   Thank you, Dr. Fisker.   It's

          17   JX-0235C .

          18                MR. SHAW:     Your Honor, this is a confidential

          19   3Shape business document.

          20                MR. JACOBS:     Your Honor, this is a -- actually,

          21   it's a study of competitive scanners in the marketplace.

          22   There's absolutely nothing in it that would be

          23   confidential.       I believe they even discussed this during

          24   the direct examination of Dr. Fisker.

          25                JUDGE CHENEY:     Any response, Mr. Shaw?



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           1               MR. SHAW :    We didn ' t discuss this document, Your

           2   Honor, and the document is, like I said, a confidential

           3   internal business document.

           4               JUDGE CHENEY:     Who prepared the document?

           5               MR. JACOBS:     Document was prepared by engineers

           6   within 3Shape doing competitive analysis of scanners on the

           7   marketplace, Your Honor.

           8               JUDGE CHENEY:     We'll go on the confidential

           9   record.

          10               MR. SHAW:     Thank you, Your Honor.
          11               (Confidential session follows. )




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                                   OPEN SESSION CONTINUED

                            JUDGE CHENEY:     Any redirect for the witness?

                            (Reporter interruption. )

           4                JUDGE CHENEY :    Can we go on the public record or

           5   is it going to be more about internal deliberations about

           6   patent strategy and competitive development?

           7                MR. SHAW:     Yes, Your Honor, I'm going to dive

           8   right into that.

           9                And, actually, Your Honor, I have a redirect

          10   binder if our paralegal may approach one more time.

          11                JUDGE CHENEY:      We'll stay on the confidential




•
          12   record.   But surely --

          13                MR. JACOBS:      Were these disclosed to us pursuant

          14   to the agreement to disclose documents relating to

          15   the direct -- I don't believe they were, Your Honor.

          16                MR. SHAW:     Your Honor, I wasn't planning to go

          17   into these documents, but I believe the cross-examination

          18   opened the door.

          19                MR. JACOBS:      Your Honor, we had an agreement in

          20   place that anything used on direct in any way would be

          21   provided ahead of time so you could properly prepare.          This

          22   is completely inappropriate, violates our agreement.

          23                JUDGE CHENEY:     Okay.   Well, was I a part of the

          24   agreement?

          25                MR. SHAW:     No, you weren't, Your Honor.



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                             MR. JACOBS:    We made the agreement -- we brought.

               it to your attention, it was two days before at 7: 00, any

               documents or exhibits that you're going to use with a

           4   witness on direct, you have to disclose, and I believe we

           5   made Your Honor aware of it in some type of document, and

           6   certainly I mentioned it during the prehearing conference.

           7   We've relied upon this agreement.       There are 15 documents

           8   that have never been provided before this direct, Your

           9   Honor.

          10               JUDGE CHENEY :     So in your agreement, Mr. Jacobs,

          11   did you agree to provide documents that would be used on




•
          12   cross-examination?

          13                 MR. JACOBS:    No, just direct demonstratives and

          14   exhibits that would be used in any way as part of a direct,

          15   Your Honor.

          16               JUDGE CHENEY:      So you could surprise the witness

          17   with -- and the witness's counsel with things on

          18   cross-examination, but it's your position that the

          19   witness's counsel should not be able to rehabilitate those

          20   things that they did not have knowledge of beforehand?

         21                MR . JACOBS:     In my 30 years of trying cases,

          22   including at the Department of Justice, it's always been

         23    that way, Your Honor.       You can cross-exam -with anything so

         24    you don't have to look at it.       For example, I haven't had




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          25   an opportunity to look at these documents to determine



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               whether I have objections to �hem.      That is the �asis of

               the agreement with regard to exchanging documents for

               direct examination.    No surprises.    Am I going to object to

           4   what he's going to show the witness?        Cross-exam, Your

           5   Honor, because you can really go anywhere with a

           6   cross-exam, we never agree to provide cross-exam documents

           7   before a cross-examination in any case I've ever been

           8   involved with.

           9               JUDGE CHENEY:    How does this relate to your

          10   agreement that there's nothing that's beyond the scope?         So

          11   if -- hpw does that relate?




•
          12               MR. JACOBS:     I can explain that.    You can go

          13   beyond the scope, Your Honor, as long as -- if you're on

          14   direct examination in any way you're providing that at 7

          15   p.m. two nights before so that the parties can meet and

          16   confer if there are any concerns whatsoever in the

          17   documents that one intends to use.      So as long as they

          18   would have provided these document pursuant to our

          19   agreement and we could have examined them and had a meet

          20   and confer, raising objections with Your Honor, that would

          21   be okay.   What you can't do is you can't bring 15 new

          22   documents in for a redirect when you haven't provided them

          23   and you have an agreement that says anything that will be

          24   used in any capacity on direct will be exchanged two nights




•
          25   before 7 p.m., Your Honor.



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           3   is redirect.
                            JUDGE CHENEY:

                            MR. SHAW:
                                             Your response, Mr. Shaw?

                                        Your Honor, this is not direct, this

                               He opened the door by trying to intimate with

           4   the witness that there was some copying of Cadent's

           5   patents, and under Federal Rule o f Evidence 106 is a

           6   similar completeness rule to what we've discussed before.

           7   I'm entitled to introduce any other writing or recorded

           8   statement that in fairness ought to be considered at the

           9   time if he introduces part of a writing or recorded

          10   statement.

          11                And, , Your Honor, we think this completes the




•
          12   picture as to 3Shape's analysis of the Cadent patents.

          13   He's trying to present only part of the story to intimate

          14   some kind of copying .

          15                JUDGE CHENEY:    Well, I don't understand if

         16    you're introducing an additional part of the written record

         17    that was presented to the witness during direct why we have

         18    15 additional exhibit numbers.

         19                 MR. SHAW:   Because that's further communications

         20    in the same analysis that he was -- that he went part of

         21    the way down the road towards .

         22                 JUDGE CHENEY:    So they're in the same e-mail

         23    chains, part of the same document?

         24                 MR. SHAW:   I do not believe they are in the




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         25    exact same e-mail chain, Your Honor, but it's among the



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               same people doing the. same analysis of the same patents.

                            JUDGE CHENEY:

               two-minute recess.
                                              Okay.   We're going to take a



           4                (Brief recess.)

           5                JUDGE CHENEY:     Please take your seats.    Let's go

           6   back on the record.       I want to hear from Mr. Shaw.    First

           7   of all, I want to see the binder, that ' s got the 15

           8   exhibits.

           9                Mr. Shaw, was there a date by which exhibits to

         10    be used at the hearing were disclosed to the other side,

         11    the procedural schedule?




•
          12                MR. SHAW:    Yes, Your Honor.

         13                 JUDGE CHENEY:     Was that date May 11th?

         14                 MR. SHAW:    I helieve that's correct, Your Honor.

         15                 JUDGE CHENEY:     Were these 15 exhibits on that

         16    list?

         17                 MR. SHAW:    They were not, Your Honor.     They were

         18    produced afterwards pursuant to Judge Lord ' s compelling

         19    order in the 1090 investigation.

         20                 JUDGE CHENEY :    And not produced pursuant to any

         21    order that I gave allowing discovery after the close of

         22    discovery.

         23                 MR . SHAW:   That's correct, Your Honor, but we do

         24    have a cross-use agreement, if I may.




-
         25                 JUDGE CHENEY:     Yeah.   They're not going to come



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                in.

                             MR. SHAW:   Does that include the ones that

           3    counsel showed on cross, Your Honor, that were from that

           4    same production on Monday?

           5                 JUDGE CHENEY:      Did they produce them on the list

           6    that was disclosed on May 11th?

           7                 MR. SHAW:   They did not, Your Honor.

           8                 JUDGE CHENEY:      Let me consult one more time.

           9    Brief recess.

          10                 (Brief recess. )

          11                 JUDGE CHENEY:      Please take your seats.   We .can

          12    go back on the public record.




-
          13                 My, what a pickle we find ourselves in.       I'm

         , 14   really disappointed, I'll just say that.

         15                  So no documents from the examination of this

          16    witness have been admitted into the record.        We will go

         17     through that tomorrow.       I'm not going to admit anything

         18     that didn't follow my order about when exhibits would be

         19     disclosed.

         20                  So with that, you can continue your examination,

         21     Mr. Shaw .

         22                  MR. SHAW:   Thank you, Your Honor.

         23     BY MR. SHAW:

         24           Q      Dr. Fisker, can you turn back to JX-235C in

         25     Mr. Jacob's binder, the cross binder?



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                            (Reporter interruption.)

                            JUDGE CHENEY:     I would like my opening to be on

           3   public record .     And are we going to continue that, Counsel?

           4                MR . SHAW:    We need to be on the confidential

           5   record, Your Honor.

           6                (A discussion was held off the record.)

           7                JUDGE CHENEY:    Just it case it helps counsel, I

           8   have orders in the case about when you're supposed to do

           9   things.    Your side agreements don't change my orders.      That

          10   was one of the points of one of the motions in limine or an

          11   order that came out shortly before that.       If you want




•
          12   relief from what you're required to do under my orders, you

          13   have to ask for it.       And you have to get a ruling from me

          14   on it.    Your cross-use agreements are whatever you think

         15    they are, but they don't contravene my orders.

          16               Okay.    Let's continue now.    Mr. Shaw would like

          17   to be on the 3Shape confidential record.

         18                MR. SHAW :    Yes, sir.

         19                JUDGE CHENEY:     And we'll proceed on that basis .

         20                 (Confidential session follows.)

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                           JUDGE CHENEY:     So we're on the public record,

               and the next witness called is Christopher Melchior for

           4   Respondents.

           5               Mr. Melchior, please raise your right hand and I

           6   will swear you in .

           7               (Oath administered.)

           8               JUDGE CHENEY :    Please be seated .   I believe

           9   Mr. Shaw has come questions for you.

          10                         CHRISTOFFER MELCHIOR,

          11   having been first duly sworn, was examined and - testified as




•
          12   follows:

          13                           DIRECT EXAMINATION

          14   BY MR. SHAW:

         15         Q      Can you please state your full name?

         16         A      Christoffer Melchior.

         17         Q      Who is your current employer?

         18         A      3Shape A/S.

         19         Q      What is your title at 3Shape A/S?

         20         A      I am a VP of global sales and customer care.

         21         Q      How long have you worked for 3Shape A/S?

         22         A      Since August 2016.

         23         Q     Are you familiar with the process by which

         24    3Shape sells its products?

         25         A     Yes.




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                        q       Can you please generally describe 3Shape's sales

                process in the United States?

            3           A       Yes.   So at 3Shape, we have a number of

            4   resellers in the U . S.      So 3Shape sells our products to

            5   resellers, and these resellers sells the products to end

            6   users.       They can be dental laboratories or dental clinics.

            7           Q       Who does 3Shape consider to be its customers

            8   generally?

            9           A       The resellers.

           10           Q       What are your current job responsibilities as VP

           11   of. global sales? ·

           12           A       My current job responsibility involves

           13   establishing the priorities for the country organizations

           14   and also defining the responsibilities of the country

           15   organizations vis-a-vis the headquarters.

           16           Q       What are your current responsibilities as VP of

           17   customer care?

           18           A       So 3Shape does after-sales support on our

           19   products .      So if the reseller cannot solve a technical

          20    issue for an end user, the reseller will hand over that

          21    case to 3Shape who will then try and troubleshoot the case.

          22            Q      Are you responsible for any other departments at

          23    3Shape?

          24            A      I'm also responsible for -- I apologize for

          25    that.       I'm responsible for the global academy.   So we just



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               separate out the global academy from customer care.

                    Q
                    A
                           What is the global academy?

                           The global academy is our training organization

           4   where we train predominantly resellers in the use of our

           5   products, and also train our own internal staff, and to a

           6   lesser degree also train some end users.

           7        Q      You mentioned country organizations before.         Are

           8   you familiar with which 3Shape entity is the country

           9   organization for the United States?

          10        A      Yes.

          11        Q      Which one is that?

          12        A      So 3Shape, Inc.

          13         Q     Are you familiar with the role and

          14   responsibilities of 3Shape, Inc. ?

          15         A     Yes.

          16         Q     And how are you familiar with that?

          17         A     So 3Shape, Inc. , reports to me.      So together

          18   with the general manager of 3Shape, Inc. , I have designed

          19   the organization and agreed on what the roles and

          20   responsibilities is of the different parts of the

          21   organization.      I was also earlier this year for a two-month

          22   period interim general manager for North America or for the

          23   U.S. , because the general manager that we had previously

          24   got another j ob opportunity .

          25         Q     Can you describe how the departments of 3Shape,



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           1   Inc., are organized?

           2        A       Yes.   So we have a commercial organization with

           3   three business managers that are regionally based.      Then we

           4   have a marketing department that's based in New Jersey.      We

           5   have a business development organization that's also

           6   predominantly based in New Jersey.     Then we have an academy

           7   team and we also have a number of account managers who

           B   manages the relationships with our resellers.

           9         Q       What does the commercial organization of 3Shape,

          10   Inc. , do?

          11         A      So we have three regional managers that each has

          12   about ten people each who are responsible for supporting

          13   the resellers at the local level.     So presenting 3Shape

          14   products to the resellers, training them on how 3Shape

          15   products works with the resellers.     And also on occasions,

          16   they will be together with the resellers supporting them

          17   when they make visits to dentists or dental laboratories.

          18         Q       What does the marketing organization of 3Shape,

          19   Inc., do?

          20        A        Two things.   So mainly they will be supporting

          21   the resellers with marketing materials and marketing

          22   campaigns that the resellers can use to promote the

          23   product.     And also to some degree, we do certain events

          24   like industry congresses where 3Shape will be present at

          25   these events.




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                     Q      What does the business development organization

                of 3Shape, Inc. , do?

            3        A      So the business development team is         I believe

            4   it's broken into three smaller functions.      One is we have a

            5   business development manager who looks at the implant

            6   segment of the market and also the resellers we have in

            7   that segment.   Then we have a lab, dental laboratory

            8   business where the business manager looks after the

            9   resellers within the dental laboratory area.        And also

           10   we'll attend the different events.     And we have a special

           11   markets team that looks after large corporate accounts.           So




•
           12   that could be universities, it could be dental service

           13   organizations and so on.

          14         Q      And can you provide a few examples of the larger

          15    dental service organizations in the U.S.?

          16         A      Yeah.    So there ' s Heartland Dental, I believe

          17    they're called, and Aspen Dental, Pacific Dental, Western

           18   Dental.   So there ' s a large number of different corporate

           19   accounts.

          20         Q      What does the account management department at

          21    3Shape, Inc., do?

          22         A      So the account management does - - to the best of

          23    my recollection, we have two.     One looks after our largest

          24    customer of the U.S., that's Henry Schein.        And the other




•
          25    one looks after the second largest customer in the U.S. and



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           1   that's Patterson Dental.

           2         Q     What does the academy team of 3Shape, Inc., do?

           3        A      We mainly training of the resellers, so making

           4   sure the reseller staff is well trained.     They will also at

           5   the request of a reseller train end users so if someone

           6   bought a TRIOS scanner and the reseller does not have

           7   resources to train that user, they will request 3Shape to

           8   do that training .

           9        Q      Does 3Shape, Inc., sell any 3Shape products?

          10        A      No.

          11        Q      Which 3Shape entity sells TRIOS scanners . to




•
          12   3Shape's U.S. resellers?

          13        A      3Shape TRIOS.

          14        Q      Does any 3Shape entity hold ,any TRIOS scanners

          15   in the U.S. that are for sale?

         16         A      No.

         17         Q      Does any 3Shape entity hold any TRIOS scanners

         18    in the U.S. that are not for sale?

         19         A      Yes.

         20         Q     What are those TRIOS scanners for?

         21         A      A number of things .   Mainly they are -- each of

         22    our territory managers and academy staff has a number of

         23    demo -- TRIOS demo units so they can use that to present to
         24    our resellers' representatives in the field.     Also the




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         25    training department has a number of scanners.     We have what



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               we call a cart system so _ we can send out -- if we're doing

               a training and education session, if we're doing a congress

               or other events, we can send out scanners that can be

           4   available at these types of events.

           5               And also we have what we call an express

           6   replacement program.    So if a dentist has a TRIOS scanner,

           7   and that TRIOS scanner is under warranty, we will replace

           8   that within 48 hours if it doesn't work .    So we will do

           9   what we call an express replacement.

          10        Q      Are any of the TRIOS scanners that 3Shape holds

          11   in the U.S. new products?

                           There could be some new products.     So if a




•
          12        A

          13   dentist has received a scanner, we call dead on arrival, so

          14   it doesn',t work upon them picking it out of the box, we

          15   will in our express replacement program ship the scanner to

          16   the dentist so they get a completely new scanner.

          17         Q     Does 3Shape hold any refurbished scanners in the

          18   United States?

          19        A      Yes.

          20         Q     What are those used for?

          21        A      Those are used -- if you are covered by the

          22   warranty today and your scanner is more than three months

          23   old, you will typically get an equivalent unit.      So let's

          24   say you've had a scanner for a year and it breaks down,

          25   we'll replace it with a scanner that is one-year old, or



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               attempt to get it in a scanner that's equivalent to what

               the dentist would have beforehand.

                    Q      Since you started in August of 2016, has 3Shape

           4   ever offered any of the TRIOS scanners that it holds in the

           5   U.S. for sale?

           6        A      To the best of my knowledge, no.

           7        Q      Is there any situation in which 3Shape would

           8   sell the TRIOS scanners that it holds in the U. S.?

           9        A      I don't believe so, no.

          10        Q      Does 3Shape's order system allow 3Shape, Inc. ,

          11   to invoice TRIOS scanners?




•
          12        A      I don't believe so.

          13        Q      Are you aware that at one point there was an

          14   interface so TRIOS scans could , be sent to Invisalign?

          15        A      Yes.

          16        Q      And do you recall when Align announced that they

          17   would close that interface?

          18        A      Yes.

          19        Q      When was that?

          20        A      December 2017.

          21        Q      And, generally, did the closure of that

          22   interface affect 3Shape?

          23        A      Yes.

          24               MR. SHAW:   Your Honor, we're going to need to go

          25   on the 3Shape confidential record for a little sales




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                information.

                           JUDGE CHENEY:   Okay.     We're on the 3Shape

           3    confidential record.   If you're not authorized to view

           4    3Shape information, please leave the hearing room.

           5               (Confidential session follows.)

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           2               MR. SHAW:
                                    OPEN SESSION CONTINUED

                                        I pass the witness, Your Honor.

           3               JUDGE CHENEY:    Any cross-examination?

           4               MS. ONDRICK:    Yes, Your Honor.

           5                           CROSS-EXAMINATION

           6   BY MS. ONDRICK:

           7        Q      Good afternoon, Mr. Melchior.

           8        A      Good afternoon.

           9        Q      The TRIOS scanner has compatibility with other

          10   clear aligners, correct?

          11               JUDGE CHENEY:     I'm.sorry to interrupt.    Can we




•
          12   be on the public record or no?

          13               MS. ONDRICK:    Yes, we can be on the public

          14   record for this part.

          15               JUDGE CHENEY:     We're on the public record, and

          16   we'll start that with the cross-examination.

          17   BY MS. ONDRICK:

          18        Q      In fact, 3Shape considers its product an open

          19   system, correct?

          20        A      Yes.

          21        Q      And 3Shape has interoperability with almost all

          22   of the clear aligner companies, right?

          23        A      I don't know if we have with all.

          24        Q      Okay.    I guess we'll check on that.     And you had

          25   that type of clear aligner compatibility before Invisalign



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                interoperability ; isn'.t that right?

                     A     I don't know how many of those were operational

                before the Invisalign interoperability.

           4         Q     Do you think you had Invisalign -- excuse me,

           5    clear aligner compatibility with most of the clear aligner

           6    companies out there in the market?

           7         A     Honestly, I don't know.       I mean, there ' s a lot

           8   of companies out there, and I'm not sure how many of them

           9   we have interoperability with.

          10         Q     So you don ' t know how many you have

          11   _interoperability with?

          12         A     I don't know the specific number, no.

          13         Q     You don ' t know if it ' s most?

          14         A     No.

          15         Q     How about many?     Do you know if it ' s many?

          16         A     I would say we have -- in most of the bigger

          17   markets we have with some of the more established products.

          18   But I know, you know, let ' s say in Korea, there are 40

          19   different aligners, to the best of my knowledge, and I ' m

          20   not sure we have with any of them.

          21               MS. ONDRICK:    Can we go ahead and pull up

          22   Mr. Melchior's deposition transcript at 260.        Starting at

          23   line 14.   Excuse me, we ' ll take line 19.

          24         A     Sorry, I didn't hear that.

          25         Q     Not for you, sir.    I can put up it up on the



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                    Q      And 3Shape actually _ benefitted from Invisalign

               interoperability, correct?

                    A      Yes.

           4        Q      And 3Shape made more money because of Invisalign

           5   interoperability, correct?

           6        A      Yes.

           7        Q      3Shape recognized more revenue because of

           8   interoperability, correct?

           9        A      Yes.

          10        Q      3Shape wanted Invisalign interoperability,

          11   correct?




•
          12        A      I was not part of that discussion, so       but

          13   certainly there was a benefit to 3Shape to have the

          14   interoperability.

          15         Q     Because it would make more money, right?

          16        A      We were making more sales, yes.

          17         Q     And 3Shape continues to have Invisalign

          18   interoperability outside the U.S., right?

          19        A      That's correct.

          20         Q     And 3Shape continues to submit scans originating

          21   from outside the U.S., right?

          22        A      Correct.

          23         Q     And 3Shape hasn't closed down the connection for

          24   Invisalign interoperability, has it?

          25        A      No, because we know customers would like to have



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                the interoperability.

                     Q      And 3Shape continues to receive that benefit

                from Invisalign capability, at least outside the U.S.,

            4   right?

            5        A      Yes.

            6        Q      So customers are buying the TRIOS because of

            7   that interoperability, right?

            8        A      I don't think customers are buying it only

            9   because of the interoperability, but it is a feature and a

           10   benefit of the 3Shape product.

           11        Q      Well how about those lost sales you pointed to?




•
           12   People are returning products.    They were returning it

           13   because there was no longer Invisalign interoperability,

           14   right?

           15        A      There were some customers who chose to return

           16   the scanner, but not all.

           17        Q      For the customers who returned the scanner, they

           18   returned it because the scanner lacked Invisalign

           19   interoperability, correct?

           20        A      I think it's an assumption and it's a fair

           21   assumption, but, o f course, we would need t o ask those

           22   customers why they returned.     But that was the reason given

           23   t o us by Henry Schein.   We did not talk to those customers

           24   directly.




•
           25         Q     So you don't know why they returned them?



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                    A      We were told by Henry Schein that they were

               returning it because of the loss of interoperability.

                           Excuse me, you said what?      It kind of slurred
                    Q
           4   together.

           5               JUDGE CHENEY:    I will repeat the transcript.

           6               We were told by Henry Schein that they were

           7   returning it because of the loss of interoperability.

           8        Q      Was that Invisalign interoperability?

           9        A      Yes, because the loss of Invisalign

          10   interoperability.

          11        Q      So Invisalign interoperability drove the sales




•
          12   of those TRIOS scanners, right?

          13        A      It was definitely part of - - one of the reasons

          14   why our TRIOS scanner was selling well in North America,

          15   correct.

          16        Q      Please answer the question, sir.

          17               MS. ONDRICK:    Move to strike as nonresponsive.

          18               THE WITNESS:    Could you repeat the question,

          19   please?

          20               JUDGE CHENEY:    I'll repeat it.

          21               So Invisalign interoperability drove the sales

          22   of those TRIOS scanners, right?

          23        A      It contributed, definitely, yes.

          24        Q      It drove those sales, right?

          25        A      Again, I think you would need to ask the



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               dentists why they bought the scanner.

                    Q      So you don't know why, then?

               both ways, sir.
                                                            You can't have it

                                  Either the Invisalign interoperability

           4   drove the sale or you don't know why.      It's one or the

           5   other.

           6        A      I'm sorry, I have to stand by my answer.     If you

           7   need to know why a dentist bought the TRIOS scanner, you

           8   would need to ask the dentist.

           9        Q      So then I guess you wouldn't agree with me that

          10   3Shape never would have made those sales if doctors

          11   required Invisalign?

          12        A      Again, I think Invisalign interoperability is a




-
          13   feature     an attractive feature of the TRIOS scanner, but

          14   at the end of the day the doctor buys it because of

          15   multiple things.

          16        Q      So if a TRIOS scanner is returned because

          17   there's no longer Invisalign interoperability, that's not

          18   the reason for the return?    Is that your testimony?

          19        A      I think, as I said earlier, they were returned

          20   to Henry Schein, and Henry Schein said that the loss of

          21   interoperability was the reason why it was returned.

          22        Q      So you don't know, though, why they were

          23   returned then; you just accepted what Henry Schein said at

          24   face value, or did you believe what Henry Schein said?

          25        A      Of course we believed what Henry Schein said.



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                     Q      So then they were returned because of a lack of

               Invisalign interoperability, correct?

           3        A       Again, if that's the assumption, we can say

           4   that, yes.

           5        Q       Okay.     So we'll go with that as an assumption.

           6                So if we assume that a scanner was returned for

           7   a lack of Invisalign interoperability, we can also assume

           8   that Invisalign interoperability drove the sale, right?

           9        A       Again, we believe it was a key feature and

          10   benefit of the TRIOS scanner.          But, again, you would need

          11   to as� the specific dentist why they buy the, scanner, and I

          12   think there are many reasons why they buy it.




-
          13                But for sure Invisalign interoperability was a

          14   key part of buying the scanner. ,

          15                MS. ONDRICK:     Move to strike as nonresponsive.

          16                JUDGE CHENEY :    I'll strike the answer as

          17   nonresponsive.       I'll repeat the question for you, sir.

          18                So we'll go with that as an assumption.        So if

          19   we assume that a scanner was returned for lack of

          20   Invisalign interoperability, we can also assume that

          21   Invisalign interoperability drove the sale, right?

          22                THE WITNESS:     And I       yes, it had a key benefit

          23   and a key feature of the TRIOS scanner.

          24                JUDGE CHENEY:     Okay.     If you have a further




•
          25   explanation, you can explore that with your counsel .



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                      Q    So if a customer originally purchased a TRIOS

               scanner because of Invisalign interoperability and then

               cancelled it, we can assume that the only reason the

           4   customer bought the scanner was because of Invisalign

           5   interoperability.    We have that established now, right,

           6   sir?

           7          A    To the best of my knowledge, there are multiple

           8   scanners in the market with Invisalign interoperability,

           9   and they still chose to buy the TRIOS scanner.       So they

          10   could have bought another scanner if it was only for

          11   Invisalign interoperability. ·

          12               MS. ONDRICK:    Move to strike as nonresponsive .

          13               JUDGE CHENEY:    So here's -- the difficult

          14   exercise that we ' re doing here, and it's a little bit

          15   artificial, it's something we don ' t do in everyday

          16   conversation, so the way cross-examination generally works

          17   is, if counsel asks you a yes-or-no question, you should

          18   respond with one of three ways :    Yes, no, or I don't know.

          19               For example, if the question were loaded with a

          20   bunch of assumptions that you don't agree with, then you

          21   could say, I don ' t know the answer to that.

          22               But I think what counsel is trying to get you to

          23   do is just clarify if you agree with certain of her

          24   propositions or not.     And if you don't, you just say no,




•
          25   and you can explore it with your counsel.       And if you do,



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               you can j ust say yes, and she'll move on.

                           Do you have any questions about that?

           3               THE WITNESS:    No.   Thank you.

           4               JUDGE CHENEY:    Okay.

           5               Let me repeat the last pending question.

           6               So if a customer purchased a TRIOS scanner

           7   because of Invisalign interoperability and then cancelled

           8   it, we can assume that the only reason the customer bought

           9   the scanner was because of Invisalign interoperability.      We

          10   have established that now, right, sir?

          11               THE WITNESS:    No, I.don't agree.




•
          12               JUDGE CHENEY:    Okay.

          13        Q      Let's go back to this, then.

          14               You have compensated your company, 3Shape has,

          15   compensated Henry Schein for purported returned scanners;

          16   is that correct?

         17                MR. SHAW:   Your Honor, I think we need to be on

         18    the confidential record for this.

          19               I'm sorry to interrupt.

         20                JUDGE CHENEY:    I don't think -- actually, I

         21    don't know the answer, so let's go on the confidential

         22    record.

         23                {Confidential session follows. )

         24

         25



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                           JUDGE CHENEY:

               on the public record .
                                               Sorry, for the transcript, we're



           4   BY MS . ONDRICK:

           5        Q      And I think your title at 3Shape is vice

           6   president of global sales and customer care, correct?

           7        A      That's correct.

           8        Q      And your job is to sell the portfolio of 3Shape

           9   products, correct?

          10        A      It's one of my responsibilities, yes.

          11        Q      And the head of the North America region for




•
          12   3Shape reports to you, correct?

          13        A      That's correct.

          14        Q      And together with the head of the North America

          15   at 3Shape, you worked to build the local commercial

          16   organization, right?

          17        A      That ' s correct.

          18        Q      And you told us about that in your testimony.

          19   One of those organizations was a sales organization, right?

          20        A      We call it a commercial organization.

          21        Q      And there was a sales organization within that.

          22        A      Again, we call it a commercial organization.

          23        Q      And you have 2 0 to 30 people in the sales

          24   organization, correct?




•
          25        A      We have them in the commercial organization,



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               yes.

                      Q    So if we could go to your deposition testimony,

               page 24, starting at line 9.

           4               Question:    And how could you describe what you

           5   mean by build up the local community organization at least

           6   as that pertains to the United States?

           7               Answer: --

           8          A    Sorry, I didn't -- could you repeat the

           9   question, please?

          10          Q    Sure.

          11               So I think we ' re on the wrong page.   So if we




•
          12   could start at page 24, and we're going to have to start

          13   actually at line 4 because there's a clarification in

          14   there.

          15               Is that fair, sir?    Do you see that, at line 4?

          16          A    Yeah.

          17          Q    Okay.

          18               And how - - can you describe what you mean by

          19   build up the local community organization at least as that

          20   pertains t o the United States?

          21               Answer :    What do you mean by "the local

          22   community organization"?

          23               Question:    Let me see.   Oh, excuse me,

          24   commercial organization.




•
          25               Answer:     So the commercial organization in North



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               America has a marketing organization.

                           Question:
                           Answer:
                                        Mm-hmm.

                                       It was what we call business

           4   development organization .     It has account management, so

           5   managing our resellers, and also has a sales organization,

           6   and we have three regional business managers.

           7               That was your answer at your deposition,

           8   correct?

           9        A      Yes.

          10        Q      At your deposition you had a sales organization,

       - 11    correct, sir?




•
          12        A      Yes.

          13        Q      And then, sir, continuing down.

          14               Do you know --

          15               Excuse me, let's go to page 43.      Take a look at

          16   line 21.

          17               Do you know approximately how large the sales

          18   organization is in the U. S . ?

          19               Answer:     Between 20 and 30 people.

          20               Question:     And are they all located in the U.S. ?

          21               Answer:     I believe, yes.

          22               That was the question and answer at the

          23   deposition, correct?

          24        A      Yes.

          25         Q     And those personnel, they're with 3Shape, Inc.,



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               correct?

                     A

                     Q
                            That's correct.

                            Now, 3Shape does a fair amount of trade shows in

           4   the U . S . , right?

           5         A      Yes.

           6         Q      And the U.S. trade shows are an important part

           7   of the responsibilities of the 3Shape sales organization in

           8   the United States, right?

           9         A      Yes.

          10         Q      And 3Shape displays products at these shows in

          ll   the U. S., correct?

          12         A      That's correct.




-
          13         Q      And 3Shape displays at least one, probably more

          14   than one, TRIOS scanner at these U.S. trade shows, correct?

          15         A      Yes.

          16         Q      And 3Shape also displays certain software

          17   products at the U.S. trade shows, correct?

          18         A      Yes .

          19         Q      And you will display the most relevant products

          20   for end users attending the trade show, and that could

          21   software, fair?

          22         A      Yes.

          23         Q      And when 3Shape puts up its products for display

          24   at U.S. trade shows, they are displaying for end users, not

          25   resellers, right?



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                     A

                     Q
                             Yes.

                             So you know companies go to these       companies

               like 3Shape go to these trade shows to show products to

           4   doctors, right?

           5        A        Yes.

           6         Q       And one of the things that companies do at these

           7   dental and orthodontic trade shows is try to sell products,

           8   right?

           9        A        I mean, for 3Shape we're trying to promote our

          10   product.     We're not selling the product.

          11                 MS. ONPRICK:    Move to strike, nonresponsive . .




•
          12                JUDGE CHENEY:     I will grant it.

          13                 The question is, So you know companies go to

          14   these - - companies like 3Shape go to these ,trade shows to

          15   show products to doctors, right?

          16                 THE WITNESS :   Of course, I know companies go

          17   to       other companies will go to these trade shows.      But

          18   for 3Shape, because we're not selling in the U.S . , we're

          19   going there to promote our product and create brand

          20   awareness of our product.

          21                JUDGE CHENEY:     Okay.   I'm going to try again .

          22   And if your answer is yes or no, just say that.        And if

          23   you're unable to do that, just let me know and then your

          24   counsel can explore it with you.

          25                Here's the question again:      So companies go to



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               these -- .companies like 3Shape go to these trade shows to

               show products to doctors, right?

           3               THE WITNESS:     I don't know.

           4           Q   Do you go to trade shows, sir?

           5        A      Sometimes, yes.

           6        Q      And you have gone to trade shows in the U. S. ,

           7   correct?

           8        A      That's correct.

           9        Q      You've gone to orthodontic trade shows, right,

          10   in the U.S.?

          11        A      No.     I have not attended an orthodontic show in




•
          12   the U. S.

          13        Q      Have you gone to a dental show in the U.S.?

          14        A      ! , have attended a dental show in the U.S.

          15        Q      Well, we're good then.

          16               And one of the things that companies at these

          17   dental trade shows that you've been to do is try to sell

          18   their products to dentists, right?

          19           A   Y

                       Q   And they actually do that at the show, right?

                       A   I don't know.

          22           Q   Companies at shows don't take orders?     You don't

          23   know?

          24           A   I don't know.

          25           Q   Okay.



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                           Does 3Shape track how many sales it makes at

               U . S. trade shows through resellers?

                    A      We try and get feedback from resellers, but we

           4   do not always get that, no.     So we try and track it, but we

           5   don't always get that information .

           6        Q      So you do track it.

           7        A      We try and get the information from the

           8   resellers, but we don't necessarily know how much a

           9   reseller sells at a trade show.

          10        Q      But you do receive information about how much a

          11   reseller sells at a trade show on occasion, correct?




•
          12        A      Personally, I've never seen that information.

          13        Q      Okay.

          14               And 3Shape, when it ' s at these trade shows in

          15   the U.S. , it's demonstrating its products, right?

          16        A      Yes.

          17        Q      And it's demonstrating its TRIOS scanner,

          18   correct?

          19        A      Yes.

          20        Q      And it's demonstrating its software, correct?

          21        A      Yes.

          22        Q      The success of a trade show is determined based

          23   on the sales, isn't it?

          24        A      I don't know.    Not only sales.   For 3Shape they

          25   would mainly be leads.      So customers who expressed an



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               interest in our product.

                       Q   So when 3Shape is at these trade shows in the

               U . S . , it's assisting with resellers to make a sale of a

           4   product, right?

           5           A   We are promoting our products for customers to

           6   learn about our products.

           7           Q   You're not trying to make a sale of a 3Shape

           8   TRIOS?

           9           A   No.

          10           Q   Or any 3Shape software?

          11           A   No.

          12           Q   And you're not assisting your resellers in

          13   making a sale of a 3Shape TRIOS or 3Shape software?

          14           A   May I explain what we do at the show?

          15           Q   Yes or no to assisting, sir.

          16               Your counsel can ask you that if they want to .

          17           A   Okay.

          18               I don't know if I would say we're assisting

          19   sales.

          20           Q   You would say you're not making a sale; is that

          21   fair?

          22           A   Yes, that's fair .

          23           Q   You don't know if you'd say if you're assisting

          24   in a sale; is that fair?

          25           A   That's fair.



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           1       . Q     Would you say you ' re supporting a sale?
           2               Yes or no.

           3           A   I don ' t know -- I don ' t know -- I don't know.
           4           Q   You don ' t know if you're supporting a sale in

           5   the U.S., okay.

           6               Are you soliciting a sale in the U.S. at a trade

           7   show?

           8           A   From my understanding, could you explain what

           9   you mean by ttsoliciting "?

          10           Q   You ' re trying to get somebody to buy your TRIOS,

          11   trying to get somebody to buy your- software.




•
          12           A   Again, I don ' t know if that's what we're doing .

          13           Q   If you were at a trade show and a dentist came

          14   up and wanted to buy a TRIOS, would you turn that sale

          15   down, or would you -- would you turn it down?

          16           A   I f a dentist came up to 3Shape at a trade show

          17   and they were interested in buying a TRIOS, we would ask

          18   that dentist to go over to our reseller.     We would

          19   typically walk the dentist over to the reseller and then

          20   the reseller would have to take that opportunity and do the

          21   sale.

          22        Q      So then if a dentist asks you at a trade show to

          23   buy a TRIOS through one of your resellers, you wouldn ' t

          24   turn that down, would you?

         25         A      We would ask the dentist -- we would walk with



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           3
               the dentist over to the reseller, and then the dentist

               would have the dialogue with the reseller who would then be

               making the sale.

           4          Q     So are you soliciting interest in your products

           5   when you're at the trade show in the U.S.?

           6          A     Yes.

           7          Q     But is it your testimony that you're j ust not

           8   soliciting sales when you're at the trade show in the U.S.?

           9          A     Yes.

          10          Q     Okay.

          11                Do you recall a meeting tbat you had with




•
          12   Heartland in 2017?     We talked about it at your deposition.

          13                Do you recall that one?

          14          A     Yes.

          15          Q     And you went to that meeting, correct, with

          16   Heartland?

          17          A     Yes.    I had a number of meetings with Heartland,

          18   yes.

          19          Q     Let's j ust focus on that one if that's okay.

          20                Can we do that?

          21          A     Is that the October meeting at Heartland?

          22          Q     That's correct.

          23          A     Yes.

          24          Q     And you came to the U.S. for that meeting,

          25   right?



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           1          A    I was visiting a I.lumber of our resell_ers in the

           2   U.S.

           3          Q    Let's just focus on the one, okay?

           4               Can we do that?

           5          A    Yes, but you said I came to the U. S . for that

           6   meeting.   So I was --

           7          Q    You were in the U.S. for that meeting, correct,

           8   sir?

           9          A    That's correct .

          10          Q    So you visited with Heartland in the United

          11   States, right?




•
          12          A    That's correct .

          13          Q    All right.   And you were looking to present your

          14   product to Heartland, right?

          15          A    That's correct.

          16          Q    And that product included the TRIOS, right?

          17          A    Yes.

          18          Q    And you were presenting because you thought they

          19   were interested in having TRIOS as part of their intraoral

          20   scanners right?

          21          A    Yes.

          22          Q    And you know they were interested in buying

          23   TRIOS -- the 3Shape products, right?

          24          A    Yes.




•
          25          Q    And you were there from -- with U.S. 3Shape



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               personnel, right?

                    A

                    Q
                           Yes.

                           The U.S. business development organization of

           4   3Shape supports resellers so they can do their j ob, right?

           5        A      Yes.

           6        Q      And the job of the resellers, at least to you,

           7   is to make a sale, right?

           8        A      Yes.

           9        Q      And the resellers attempt to sell 3Shape

          10   products, right?

          11        A      Yes�




•
          12        Q      And the 3Shape sales organization in the U.S.

          13   also supports resellers, right?

          14        A      Yes.

          15        Q      And one thing that people in the U.S. sales

          16   organization of 3Shape do is go to customer, potential

          17   customers sites with the reseller, right?

          18        A      Yes.

          19        Q      In fact, if a reseller who is attempting to sell

          20   3Shape products wanted a 3Shape employee to accompany the

          21   reseller on a customer visit, they would reach out to a

          22   3Shape regional business manager, right?

          23        A      Yes.

          24         Q     And you have three of those region business




•
          25   managers in the U. S., right?



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           3
                      A

                      Q
                             Yes.

                            3Shape's customer care after sales support helps

               resellers too when they call with a product issue, right?

           4          A     Yes.

           5          Q     And if the reseller can't solve the problem,

           6   they hand it off to 3Shape, right?

           7          A     Yes.

           8          Q     And such 3Shape personnel may be responsible for

           9   solving that end user's problem, right?

          10          A     Yes.

          11          Q     And it's important for 3Shape to provide after

          12




•
               sale customer support to end users, right?

          13          A     Yes.

          14                MS. ONDRICK:     I have no further questions.

          15                JUDGE CHENEY :    Okay.   Is there any redirect for

          16   Mr. Melchior?

          17                MR. SHAW:   Just two questions, Your Honor.

          18                JUDGE CHENEY:     Can we be on the public record or

          19   not?

          20                 We are back on the public record.

          21                         REDIRECT EXAMINATION

          22   BY MR. SHAW:

          23          Q     You were asked about a sales organization during

          24   cross.     Do you recall that?

          25          A      Yes.




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                     Q

                     A

                     Q
                            Is that call�d anything else?

                            We call it a commercial organization.

                            And what does the commercial organization of

           4   3Shape, Inc., do?

           5        A       They support our resellers at the local level so

           6   if a reseller requires training of their staff or if they

           7   are going to visit a dentist and they would like a 3Shape

           8   personnel to participate in the visit to be the product

           9   expert, then we will be there for that.

          10                MR. SHAW:   No further questions , Your Honor.

          11                JUDGE CHENEY:    Okay.   Any other questions before




•
          12   I excuse Mr. Melchior?

          13                MS. ONDRICK:    No, Your Honor.

          14                JUDGE CHENEY:    T-hank you, Mr. Melchior, for

          15   coming in.    You may be excused.

          16                THE WITNESS:    Thank you.

          17                (Witness excused.)

          18                MR. SHAW:   Your Honor, 3Shape is calling

          19   Kristian Hansen.    We're going to bring him in from outside.

          20                JUDGE CHENEY:    Okay.

          21                Please stand and raise your right hand.

          22                (Oath administered. )

          23                JUDGE CHENEY:    Please be seated.

          24                Counsel, proceed when you're ready.




•
          25                            KRISTIAN HANSEN,



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               having been first duly sworn, was examined and testified as

               follows:

                                           DIRECT EXAMINATION

           4   BY   MR.   LIU:

           5          Q          Can you please state your name for the record?

           6          A          Kristian Hansen.

           7          Q          Mr. Hansen, who is your current employer?

           8          A          3Shape TRIOS A/S.

           9          Q          And what is your current position at 3Shape

          10   TRIOS A/S?

          11          A          I'm a proj ect manager for the TRIOS education

          12   software.




-
          13          Q          How long have you been at that position?

          14          A          Seven years.

                      Q          And did you have any position at 3Shape prior to

          16   your current position?

          17          A          Yes.    I had three years as a software developer

          18   and team leader for quality control project called

          19   Convince, and two years at software developer and team

          20   leader for TRIOS application software.

          21          Q          When did you start your position as TRIOS

          22   software developer?

          23          A          2009.

          24          Q          And when did 3Shape begin development of the




•
          25   TRIOS software?



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                            In 2.009.

                            And what is TRIOS software?

                            TRIOS software is a Windows application running

           4     on an external PC responsible for constructing the

           5     three-dimensional model from the scanner data.

           6          Q     And what do you mean by external PC?

           7          A     It ' s the     the PC in TRIOS Cart or TRIOS Move

           8     or off-the- shelf PC if it's a TRIOS part system.

           9                MR. LIU:     Your Honor, I'm going to be going on

          10     to the 3Shape confidential record.

          11                JUDGE CHENEY:     What's the nature of the

          12     information?




-
          13                MR. LIU:     This is a confidential 3Shape document

          14     that aim going to.,

          15                JUDGE CHENEY:     What is it about?

          16                MR. LIU:     It's about the technical operation of

          17     the 3Shape software.

          18                JUDGE CHENEY:     Okay.   We've had a substantial

          19     amount of testimony on the public record about this.      Is

          20     this at some level of detail that's particularly unique?

          21                MR. PATNAIK:     Your Honor, this is different than

          22     what's been talked about before.

          23 -              JUDGE CHENEY:     Okay.   Let's see where we go.

          24     We'll go on the 3Shape confidential record.      If you're not

          25     authorized to view 3Shape confidential information, please



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                leave the hearing room.

                            (Confidential session follows.)

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                                    OPEN SESSION CONTINUED

                           JUDGE CHENEY:     We're back on the public record.

                                        CROSS-EXAMINATION

           4   BY MR. CONSILVIO:

           5        Q      Hello, Dr. Hansen.     Nice to see you again.

           6        A      Nice to see you.

           7        Q      I'm going to try and be brief.    I know you've

           8   got a flight to catch.

           9        A      Thank you.

          10        Q      So I know you may have covered a little bit of

          11   this, but I just want to start with some basics.




•
          12               You have familiarity with the TRIOS 3 system ;

          13   isn't that correct, Dr. Hansen?

          14        A      Yes.

          15        Q      And the TRIOS 3 system includes a scanner wand

          16   coupled to a computer, right?

          17        A      Correct.

          18        Q      And the wand houses an FPGA processor; is that

          19   correct?

          20        A      Yes.

          21        Q      And the computer coupled to the wand also has a

          22   processor, right?

          23        A      Correct.

          24        Q      So the data that's sent from the FPGA processor

          25   to the wand processor -- sorry, strike that .



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                           Data is sent from �he FPGA processor to the

               wand -- from the wand to the processor on the computer,

               correct?

           4        A      Correct.

           5        Q      And that's scan data, right?

           6        A      Correct.

           7        Q      And you referred to earlier you called that a

           8   sub-scan package; is that right?

           9        A      Yes, that was one of the

          10        Q      Okay .   So data from the FPGA is sent to the

          11   computer in the form of sub-scan packages; is that right?




•
          12        A      Yes, that was one of the data types, yes.

          13        Q      And each sub-scan package includes the necessary

          14   information from a sub-scan for building a color

          15   three-dimensional model, correct?

          16        A      No.

          17        Q      It doesn't?

          18        A      No.

          19        Q      The computer that is coupled to the wand

          20   includes software called ScanSuite ; is that right?

          21        A      Correct.

          22        Q      And that receives the sub-scan packages,

          23   correct?

          24        A      Yeah, correct.

          25        Q      And Scansuite just translates the data format



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               . into something that the TRIOS software application can
                understand; is that right?

                     A       Yeah, correct, together with the encoder

           4    packages.

           5         Q       Okay.    And the TRIOS application software

           6    resides on the PC, right, the computer?

           7         A       Yeah, correct.

           8         Q       Along with ScanSuite?

           9         A       Correct.

          10         Q       And the TRIOS application software puts all the

          11    sub-scans together and builds a three-dimensional model;




•
          12   isn't that right?

          13         A      Yeah, correct.

          14         Q      And that's a color model?

          15         A      Correct.

          16                MR. CONSILVIO:     I think I do need to go on to

          17   the confidential record at this point to discuss details of

          18   the       further details of the processing.

          19                JUDGE CHENEY:     Okay.

          20                 (Confidential session follows.)

          21

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                                   OPEN SESSION CONTINUED

                            JUDGE CHENEY:   We're back on the public record,

               and the Respondents have called their next witness, Allan

           4   Hyldal.    We ' ll probably just get him sworn in before it's

           5   time for the break, so let's take our break now.         We'll

           6   resume at 3:11.    We're off the record.

           7                (Recess from 2: 56 p.m. until 3:12 p. m.)

           8               JUDGE CHENEY:    Please take your seats.     We're

           9   back on the public record in Investigation 337-TA-1091.          We

          10   are about to hear from Allan Hyldal, who's been called by

          11   Respondents. .

                            Sir, will you please stand and raise your right




•
          12

          13   hand, and I will swear you in.

          14                (Oath administered. )

          15               JUDGE CHENEY :   Please be seated.

          16                Mr. Patnaik, proceed when you're ready.

          17                MR. PATNAIK:    Thank you, Your Honor.

          18                           ALLAN HYLDAL,

          19   having been first duly sworn, was examined and testified as

          20   follows:

          21                         DIRECT EXAMINATION

          22   BY MR. PATNAIK:

          23        Q       Can you please state your full name for the

          24   record?

          25        A       My name is Allan Hyldal.



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           3
                   .Q
                     A

                     Q
                           Do you speak _English fluently?

                           I do.

                           Are you currently employed?

           4         A     I am.

           5         Q     Who is your current employer?

           6        A      3Shape A/S.

           7         Q     How long have you worked for 3Shape?

           8        A      I joined the company in December of 2013.

           9        Q      What is your current title?

          10        A      I am vice president of 3Shape orthodontics.

          11         Q     What are y,our current job responsibilities as VP

          12   of orthodontics?




•
          13        A      I oversee the overall business strategy, and

          14   then I have the direct responsibility for product

          15   management and product marketing.     And then I work with our

          16   subsidiaries to help develop their local business

          17   strategies and support them with resources for trade shows

          18   and such.

          19        Q      Have you held any other positions at 3Shape?

          20        A      When I was hired my title was director of the

          21   orthodontic business unit, but that title was later

          22   converted into the vice president role.

          23        Q      As VP of orthodontics, are you familiar with

          24   3Shape's Ortho System software?




•
          25        A      Yes



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           1        Q        What is Ortho System?

           2        A        It is a collection of functionality that enables

           3   orthodontists and orthodontic lab technicians to analyze an

           4   orthodontic treatment case and treatment-plan it, and then

           5   subsequently design and manufacture sort of different types

           6   of appliances.

           7        Q        Who is the target end user of Ortho System?

           8        A        That would be orthodontic lab technicians and

           9   orthodontists with in-house labs.

          10        Q        What software falls under the Ortho System

          11   umbrella?

          12        A        Can you say that again?




•
          13        Q        Sure.   Sorry.   What software falls under the

          14   Ortho System umbrella?

          15        A        That would be -- the two main modules would be

          16   Ortho Analyzer and Appliance Designer.

          17        Q        What is Ortho Analyzer?

          18        A        So Ortho Analyzer is a -- it ' s a module that

          19   enables the user to analyze the intraoral situation and to

          20   treatment-plan -- to plan the treatment, basically.

          21        Q        What is Appliance Designer?

          22        A        That's a CAD software tool that enables the

          23   orthodontist or the user to design various types of

          24   appliances.

          25        Q        Are you familiar with something called Virtual



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               Setup?

                    A      Yes.

                           Can you please describe it briefly?
                    Q

           4        A      So Virtual Setup is a part of Ortho Analyzer

           5   that enables a user to simulate a treatment plan.      So use

           6   the setup software to create a virtual setup and the user

           7   functionality to simulate extractions or interproximal

           8   reductions so that the doctor can -- and also that the user

           9   can, you know, do various scenarios for how the treatment

          10   could be done before he actually starts doing it on the

          11   patient�

          12               Are you familiar with something called Edit




•
                    Q

          13   Flexible Tissue?

          14        A      Yes .

          15        Q      Can you briefly describe Edit Flexible Tissue?

          16        A      It is a feature inside Ortho Analyzer that

          17   enables a user to basically cut the teeth from the gingiva.

          18        Q      Is Edit Flexible Tissue a feature of Virtual

          19   Setup?

          20        A      No, it ' s not.

          21         Q     Are you familiar with the functionality known as

          22   Indirect Bonding?

          23        A      Yes .

          24         Q     Can you briefly describe Indirect Bonding?




•
          25        A      It ' s a collection of features and functions that



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                enables the doctor or the user to place brackets virtually

                on the model set and use the prescription of the brackets

                to plan the treatment and then subsequently design what's

            4   called a transfer media, which is a sort of appliance that

            5   can be used to virtually -- not virtually but indirectly

            6   transfer the brackets into the mouth of the patient.

            7        Q      Are Virtual Setup , Edit Flexible Tissue, or

            8   Indirect Bonding part of 3Shape's Dental System software?

            9        A      No, it's not.

           10        Q      Do you know what Splint Designer is?

           1�        A      Yes.

           12               What is it, if you could briefly describe it?




•
                     Q

           13        A      Splint Designer is a -- it's a specific workflow

           14   that enables the user to design various types of splints

           15   such as mouth guards and night guards and sports guards.

           16        Q      Is Splint Designer available within Dental

           17   System?

           18        A      It's a module that's sold separately that can be

           19   sold with Dental System, yes.

           20        Q      Are there any differences in Splint Designer as

           21   it appears in Ortho System or as it appears as an add-on

           22   for Dental System?

           23        A      Yes, there is.    As it appears in Ortho System,

           24   it's an integral part of the Appliance Designer.      So it ' s

           25   an integral part of the Ortho System workflow.      When it



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           1   appears from Dental System, it's a stand-alone module

           2   without a database.     It's basically just an external

           3   function that's called from the Dental System and then

           4   returns the case back to Dental System again.

           5        Q        Is Virtual Setup part of Splint Designer?

           6        A      No.

           7        Q        Does the copy of Splint Designer in Dental

           8   System share data with Virtual Setup?

           9        A      No.

          10        Q        Is Edit Flexible Tissue part of Splint Designer?

          11        A      No.

          12        Q        Does the copy of Splint Designer in Dental




•
          13   System share data with Edit Flexible Tissue?

          14        A      No.

          15        Q        Is Indirect Bonding part of Splint Designer?

          16        A      No.

          17        Q        Does the copy of Splint Designer in Dental

          18   System share data with Indirect Bonding?

          19        A        No.

          20         Q       I s it possible for a user to purchase either

          21   Ortho System or Dental System without the other?

          22        A        Yes.

          23         Q       Are Ortho System and Dental System sold

          24   separately?

          25        A        Yes, they are .



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                     Q    . Is it possible for a user to purchase both Ortho

                System and Dental System?

                     A     Yes.

           4         Q     Are Ortho System and Dental System ever sold as

           5    one integrated product?

           6         A     No, they're not.

           7         Q     If a user purchases both Ortho System and Dental

           8    System, will they have one version of Splint Designer?

           9         A     No, they will have two.

          10         Q     If a customer buys Ortho System without

          11    hardware, how is that -software delivered?

          12               It's downloaded from our cloud service.




•
                     A

          13         Q     If a customer gets updates of Ortho System, how

         , 14   is that software update delivered?

          15         A     It's also delivered through the cloud.

          16         Q     If you could turn in your binder to --

          17               MR. PATNAIK:     Actually, we do need to go on the

          18    3Shape confidential record, Your Honor.

          19               JUDGE CHENEY:     What ' s the nature of the

          20    information?

          21               MR. PATNAIK:     The document itself, Your Honor,

          22    is confidential.    We have had testimony on it, snippets of

          23    it, in different parts that counsel and I have let it go on

          24    the screen, but not the whole document.      I can j ust have

          25    him -- I don't need it on the screen right now.



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                            JUDGE CHENEY:    I f we can stay on tne public

                record and j ust look at the binder, that would be great.

                            MR. PATNAIK:    We can do that.
            3

            4        Q      Mr. Hyldal, can you look at what's been marked

            5   as CX-858C, please .

            6        A      Yes.

            7        Q      Do you recognize this document?

            8        A      Yes.

            9        Q      What is it?

           10        A      That is a software specification for Ortho

           11   System 2017-1.

           12               Does it address any specific issues?




•
                     Q

           13        A      Can you say that again, please?

           14        Q      Does it address anything specific about Ortho

           15   System?

           16        A      It shows how the different integration

           17   capabilities in Ortho System are laid out.

           18        Q      And how is integration used in the context of

           19   this document?

           20        A      So integration basically means that there is a

           21   well-defined interface between Ortho System and any of the

           22   modules or systems that are described in this document.

           23         Q     Does that mean that Dental System and Ortho

           24   System act together as one product?

           25        A      No.    It actually means the opposite, that



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               there's a well-defined interface be�ween the two systems

               and there's a well-defined protocol for how data is

               exchanged, just as there are a well-defined protocol for

           4   how data is exchanged with practice management systems.

           5         Q       Is that because they're separate products?

           6        A        Yes.

           7         Q       Are you familiar with the Complainant Align

           8   Technology?

           9        A        I am.

          10         Q       Have you had any professional interactions with

          11   Align since joining 3Shape?

          12        A        Yes.    Ever since I j oined in December of '13,




•
          13   I've had several interactions with them.       I mean, it's a

          14   small industry, so we tend to meet each other at trade

          15   shows, and at every congress, there's a round, and I've

          16   been in dialogue with them since pretty much the beginning

          17   of my tenure to talk about how we could integrate TRIOS to

          18   Invisalign.

          19        Q        Was a contract to integrate 3Shape TRIOS

          20   scanners with Invisalign ultimately signed?

          21        A        Yes.

          22                 MR. PATNAIK:    Same thing, Your Honor, I'm going

          23   to speak about a confidential document right now, but it

          24   doesn't -- we don't need to go on the confidential record

          25   because I'm not going to show it quite yet.



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                              JUDGE CHENEY:

                              MR. PATNAIK:

                switch to confidential.
                                                Okay.

                                               But when I do, I will have to



            4                 JUDGE CHENEY:     Okay.

            5        Q        Could you please turn in your binder to JX-163C,

            6   please.

            7        A        Yes.

            8        Q        Do you recognize this document?

            9        A        Yes.

           10        Q        What is it?

           11        A        That is the agreement that Align Technology and

           12   3Shape ultimately signed that would define how the TRIOS




•
           13   scanner could be used to send cases to Invisalign.

           14        Q        Do you remember when it was executed?

           15        A        That was in December of 2015.

           16        Q        You said that 3Shape and Align had been

           17   discussing some type of integration before you joined; is

           18   that right?

           19        A        That's correct.

           20        Q        Can you describe the initial interactions with

           21   Align regarding the interface?

           22        A        Yes.   When I joined the company, one of the

           23   first tasks I was given by our CEO, Flemming Thorup, was to

           24   try to establish an interoperability agreement between

          25    TRIOS and Invisalign.        And so I was consulting with our



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               teams that had had dialogue with Align in the past, and

               from -- based on that, I reached out to Srini Kaza to start

               the dialogue and see if there was an interest of opening up

           4   the dialogue about the integration again.

           5        Q      Are you familiar with something called a

           6   validation process with respect to the interoperability?

           7        A      Yes.     One of the information that we got from

           8   Align was that there was a quite rigorous validation

           9   process we had to go through in order to prove that the

          10   scanner was qualified to send to Invisalign.

          11        Q      Do you recall what the validation process

          12   entailed?




•
          13        A      So it was quite a rigorous process that entailed

          14   that 3Shape had to scan at least a hundred patients with at

          15   least ten different doctors and ten different scanners with

          16   the objective to prove both the accuracy of the scanner but

          17   also the repeatability of the workflow for the doctor.         And

          18   so the purpose was to establish not only a qualification of

          19   the scanner but also a smooth workflow for the operator .

          20        Q      Who from 3Shape was handling discussions with

          21   Align?

          22        A      I was.

          23        Q      Sorry, about- interoperability?

          24        A      I was handling those discussions.

          25        Q      Who was the primary counterpart from Align?



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                     Q
                          . At this point this _would have been Srini Kaza.

                           Were there discussions about TRIOS/Invisalign

               integration -- strike that.

           4               Did your discussions with Mr . Kaza and Align

           5   continue through December 2015 when the scanner agreement

           6   was eventually signed?

           7        A      No.   The discussions were terminated again after

           8   a couple of months.

           9        Q      Do you know why they were terminated?

          10        A      I was informed by Mr . Kaza that Align had

          11   decided not to proceed, that Tim Mack of the company had

          12   made the decision not to proceed with 3Shape.




•
          13        Q      Do you know why Mr. Mack called off the

          14   discussions?

          15        A      At the time, we were informed that this was for

          16   business reasons.

          17        Q      Were there any other reasons identified?

          18        A      We were also informed that there were legal

          19   reasons.

          20        Q      Do you know what they meant by " legal reasons" ?

          21        A      Well, we were informed b y Mr. Mack that there

          22   was some patent infringement issues that had to be resolved

          23   before we could proceed with the agreement.       And so at the

          24   time, the discussions were terminated.

          25        Q      Do you know whether 3Shape ever asked Mr. Mack



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                _to provide any further information about those patent

                allegations?

                       A      Mr. Thorup, who was the CEO of the company at

            4   the time and who had known Tim Mack from before, he reached

            5   out to Mr. Mack and asked for an explanation, and Mr. Mack

            6   never came back to us about it .

            7          Q     Did you hear from anywhere else any allegations

            8   of patent infringement?

            9          A     Yeah.   We did hear from others that there had

           10   been       that there were reasons -- patent infringement

           11   reasons which meant that Align probably would not be

           12   validating the scanner.




•
           13                 MR . PATNAIK:   I do need to go to the

           14   confidential record now, Your Honor.

           15                JUDGE CHENEY:     Okay.   Whose confidential

           16   information is this?

           17                MR. PATNAIK:     This is 3Shape confidential.

           18                 (Confidential session follows. )

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           1                        OPEN SESSION CONTJNUED

           2               JUDGE CHENEY:    We're on the public record.

           3   BY MR. PATNAIK:

           4         Q     Can you once again look at JX-163C in your

           5   binder, Mr. Hyldal.

           6        A      Yes.

           7         Q     Can you show me where you believe the scanner

           8   agreement acknowledges 3Shape's work with other clear

           9   aligner companies, please?

          10        A      Yes.    So if you turn to page 1 , section 1.1 - - I

          11   believe it's the last paragraph.     It says, likewise r the




•
          12   parties agree that supplier may enable and provide scans

          13   from supplier's products to other providers of orthodontic

          14   treatment systems, including other manufacturers of clear

          15   aligners.

          16        Q      Can you also show me where you believe the

          17   scanner agreement acknowledges 3Shape's Ortho System

          18   software, please?

          19        A      Yes.    Turn to page 3, section 3.6, I think it's

          20   the first paragraph on page 3, it says, Align acknowledges

          21   that supplier [inaudible] software solution currently

          22   contains functionality that can be used to analyze a set of

          23   digital impressions, help diagnose a patient's oral

          24   situation, plan a treatment, and simulate tooth movement in

          25   a virtual setup using supplier ' s treatment planning



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               software.   This functionality is used by supplier's

               customers internationally for treatment planning and by

               labs for manufacturing of indirect bonding, retainers,

           4   splints, sleep apnea appliances, and other types of

           5   orthodontic appliances, which would include clear aligners.

           6        Q      How did 3Shape feel about entering into the

           7   scanner agreement with Align?

           8        A      I mean, we were excited.    This was a great

           9   opportunity, we felt, for both companies.

          10        Q      Did 3Shape and Align ever publicly announce the

          11   TRI-0S/Invisalign interoperability? .




•
          12        A      Yes.   We made - - I think we made two public

          13   announcements, one when the agreement was signed and later

          14   when the interoperability was actually commissioned.

          15               MR. PATNAIK:    Before I continue, Your Honor, I

          16   noticed that the JX version that we put on the screen was

          17   basically illegible.    Can I work with counsel and get the

          18   most legible copy of this agreement for the exhibit

          19   binders?

          20               JUDGE CHENEY:    That would be great.

          21               MR. PATNAIK:    For what we submit eventually .    I

          22   don't mean for this witness.

          23               JUDGE CHENEY:    Maybe you can - also take a stab at

          24   redacting and having a public version that has a similar

          25   number or something like that.



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           3   effort.
                            MR. PATNAIK:

                            JUDGE CHENEY:
                                            w� • 1 1 take a look.

                                             Since you're going to all that



           4                MR. PATNAIK:    Sure.

           5        Q       Mr. Hyldal, can you turn to JX-246, please, in

          6    your binder.

           7        A       Yes.

           8        Q       Do you recognize this document?

           9        A       Yes.   This is the joint press release that was

          10   made between Align and 3Shape announcing that - - the new

          11   worktlow of integrating the TRIOS scanner with the

         12    Invisalign case submission workflow.




-
          13        Q       Did 3Shape need to do anything to establish that

          14   interface?

          15        A       We did.    I mean, at the time -- as I mentioned

          16   before, we already had several integrations to other

         17    treatment providers at the time, but Align had a different

          18   way of doing it that they wanted us to pursue.       So we had

          19   to build quite a lot of back-end functionalities to support

         20    the integration process.

          21        Q       Did 3Shape and Align complete the validation and

          22   eventually open the interface?

          23        A       We did .

          24        Q       When did that happen?




•
          25        A       That happened in October of 2016.



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                     Q       Was it surprising for it to take almost a year

               to validate it?

                     A       Yeah.     I think it took a lot longer than it had

           4   to.   I was informed by Mr. Kaza that it was due to some

           5   internal SAP upgrade issues that Align was having at the

           6   time, and so -- you know, I don't think we got a really

           7   credible explanation for why it was.         We were surprised.

           8         Q       Can you turn to RX-1279, please .

           9         A       Yes.

          10         Q       Do you recognize this document?

          11         A       Yes.    This is the press release that was issued

          12   when the first TRIOS scan was sent for Invisalign case




-
          13   submission.

          14         Q       Did 3Shape change any of its business practices

          15   based on the interface opening?

          16         A       We did.     I mean, part of the discussion, and

          17   that's also reflected in the agreement, was that 3Shape had

          18   to present and promote Invisalign as our preferred clear

          19   aligner partner.        So we created a special website and we

          20   made it very, very easy for doctors to connect to

          21   Invisalign.     And so we did not do that for any other o f our

          22   integration partners at the time.

          23         Q       You had not promoted any other clear aligner

          24   partners before that?

         25          A       We had basically listed them so that they were



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           1   known to people, but we did not promote any of them

           2   actively.

           3         Q      And did any of them have a separate website like

           4   Align did?

           5        A       No, none of them had a separate website .

           6         Q      From 3Shape's perspective, was the interface

           7   between TRIOS and Invisalign successful?

           8        A       It was very successful.     I mean, pretty much

           9   from the time we announced the integration, a lot of

          10   doctors started to sign up to be on board when the

          ll   integration eventually opened.     And after .the integration




•
          12   opened, we saw a -- I would say even a surprisingly fast

          13   growth of cases being submitted.       It was very successful .

          14         Q      How do you know how many doctors signed up and

          15   how many TRIOS cases were sent to Invisalign?

          16        A       So part of the on-boarding process, we were

          17   obliged to on-board people in a certain way, train them in

          18   how to scan and train them in how to send.        And so

          19   everybody was signing up on our website and we were

          20   on-boarding them one at a time.     So we knew exactly who the

          21   doctors were.

          22         Q      Do the treatment providers also have access to

          23   information about the TRIOS customer sending the scans?

          24        A       Yes.   So each individual scanner is directly




•
          25   connected to the provider.     So the provider would know



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                exactly which TRIOS users are sending them cases.

                     Q      And was that true for all the TRIOS/Invisalign

                interface scans?

           4         A      It was, yes.    So they knew exactly who the

            5   customers were.

           6                MR. PATNAIK:    Your Honor, now I do need to go on

            7   the 3Shape confidential.

           8                JUDGE CHENEY:    Okay.

           9                (Confidential session follows.)

          10

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           1                          OPEN SESSION CONTINUED

           2                 JUDGE CHENEY:     We're back on the public record.

           3    BY MR. PATNAIK:

           4         Q       What was 3Shape's perspective on the

           5    TRIOS/Invisalign interface when Align sued 3Shape in

           6   November 2017?

           7         A       Well, we certainly felt that it was a successful

           8    partnership we had at the time .      We felt that it was an

           9    integration that was beneficial to both companies

          10    commercially.      We were selling more TRIOS scanners and they

          11    were selling so man� more Invisalign cases.        So we were




•
          12    surprised that they sued us.

          13                 I mean, we had known about the, you know, patent

          14    allegations from way before we started, and we had

          15    commercially agreed on the interoperability agreement, the

          16    scanner agreement, and so, you know, we were surprised that

          17    they were bringing these things up again.

          18         Q       Did 3Shape ever consider terminating or not

          19    renewing the scanner agreement?

          20         A       No.

          21         Q       Did 3Shape ever consider closing or asking Align

          22    to close the TRIOS/Invisalign interface?

          23         A       No, we did not.

          24         Q       Did 3Shape close the iTero Dental System




-
          25    interface?



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                     A

                     Q
                            No, we did not, and it is still open today.

                            After Align sued 3Shape, did you have a chance

                to speak with anyone at Align about the status of the

           4    scanner agreement and interface and how they might be

           5    affected by the lawsuits?

           6         A      Yeah .

           7                Our marketing director, Lars Lohn [ph] and

           8    myself, we met with Raphael Pascaud at Greater New York in,

           9    must have been November of 2017.     And I explicitly asked

          10   him about it, about this, and he confirmed that Align had

          11    no intentions of closing the interface .




•
          12         Q      Did you do anything with that information?

          13         A      Well, later when they eventually did close the

          14    interface, we communicated it to the market in a press

          15    release .

          16         Q      Had you told management about that

          17    communication?

          18         A      I had.    We had -- obviously Lars and myself had

          19    brought that information back to the management group and

          20    had -- I mean, tried to establish an understanding that we

          21    believed that they were not going to close the interface .

          22         Q      Could you please turn to what's been marked

          23    JX-249.

          24         A      Yes.

          25         Q      Do you recognize this document?



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                to.
                      A



                      Q
                            Yes .   That is the. press release I wa� referring



                            And this was issued shortly after the

           4    termination?

           5          A    It was.     This was issued on December 19 .

           6          Q    Other than your discussion with Mr . Pascaud, did

           7    you hear anything between October of 2016 and December of

           8    2017 about whether or not Align would close the interface?

           9          A    Yeah, we did.     I mean, that was -- pretty much

          10    from the time when the interface agreement was signed, we

          11    started to hear rumors in the market that Align was never




•
          12    going to build the interface.

          13          Q    How frequent were those rumors?

          14          A    I would say that rather frequent, maybe a couple

          15    times every quarter.

          16          Q    Did you speak with anyone at Align about those

          17    rumors?

          18          A    I did speak with Raphael Pascaud about it, and

          19    he assured me that this was j ust, you know, a couple of

          20    reps going loose and that it had nothing to do with Align's

          21    corporate strategy, if you will.

          22               MR. PATNAIK:     Your Honor, can we go back on

          23    3Shape confidential, please.

          24               JUDGE CHENEY :    What's the nature of the




•
          25    information?



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                           MR. PATNAIK:   Internal business documentation.

                            (Confidential session follows.)



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            2    BY MR. PATNAIK:
                                     OPEN SESSION CONTINUED



            3         Q      Can you turn to JX-165, please.

           4          A      Yes.

            5         Q      Do you recognize this document?

           6          A      Yes.   This is the press release that Align

           7     issued where they informed the market that they have

           8     discontinued accepting scans from the TRIOS scanner in the

           9     United States.

          10          Q      This press release says that, The cutoff for

          11    - accepting new Invisalign cases from TRIOS scanners in the




•
          12    U.S. will be January 31st, 2018.

          13                 Do you know if the U.S. interface was closed on

          14     that day?

          15          A      It was not.

          16          Q      How do you know that?

          17          A      Well, we -- like I said before, we monitor the

          18    cases that are being sent, and several months later there

          19    was a meeting and there was some e-mail interactions

          20    between the Align development team and the 3Shape

          21    development team by which the Align development team would

          22    inform us that the interface had not been closed.

          23                 And then a little later on, on May 22, that as

          24    of today, the interface now was closed.

          25         Q       That's May 22, 2018?



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                     A      May 22, 2018.    And this is from new cases.

                course, it still remained open for existing cases.
                                                                           Of



           3         Q      The last sentence in the first paragraph of the

           4    press release says --

           5                JUDGE CHENEY:    I'm sorry, why is all this

           6    conversation about a press release released to the market

           7    confidential?

           8                MR. PATNAIK:    I'm sorry, Your Honor, it could

           9    have been public, starting with the introduction of the

          10    exhibit .

          11                JUDGE CHENEY:    We're back on the public record.




•
          12                (A discussion was held off the record.)

          13                JUDGE CHENEY:    Now continue, Counsel.

          14    BY MR . PATNAIK:

          15         Q      The last sentence of the first paragraph of the

          16    press release says, Doctors who need to submit additional

          17   TRIOS scans for an existing Invisalign case for refinement

          18    or additional aligners will still be able to do so.

          19                Do you understand what that means?

          20         A      It means that if a doctor started an Invisalign

          21    case with his TRIOS scanner prior to Align announcing the

          22    termination, that doctor would still be able to continue to

          23    send refinement cases also after the date of the

          24    termination.




•
          25         Q      Do you know how long those refinement cases



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           1    could go?

           2          A      For Invisalign full cases, that could be up to

           3    five years.

           4          Q       Do you know if Align has since closed the

           5    interface for these additional TRIOS scans?

           6          A      They have not.

           7          Q      What were your thoughts when you learned that

           8    Align was terminating the scanner agreement and closing the

           9    interface?

          10          A      Well, I was obviously surprised and I was also

          11    very disappointed.      Agajn, we felt that it was a very good




•
          12   business relation that we had with Align and that it was a

          13    win-win situation for both companies.

          14                  And, also, I was obviously very disappointed

          15    that Align       or that Raphael had told me that they

          16    wouldn't shut it down and then shortly thereafter they did

          17    it anyway.

          18          Q       Did termination of the interface have any effect

          19    on 3Shape ' s sales?

          20          A       It did.   It did affect our sales, especially in

          21    the U . S.

          22                  MR. PATNAIK :   Your Honor, I do need to go back

          23    to 3Shape confidential now.

          24                  JUDGE CHENEY:   Okay.

          25                  (Confidential session follows.)



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            1                           OPEN SESSION CONTINUED

           2                  JUDGE CHENEY:     We're back on the public record.

           3    BY MR. PATNAIK:

           4          Q       After Align terminated the agreement and closed

            5   the U.S. interface, did you speak with anyone from Align

           6    regarding whether the interface would be closed outside of

           7    the U.S . ?

           8         A        I did.     Again, I spoke with Raphael Pascaud and

           9    asked him about it.        I mean, it was actually a bit of a

          10    difficult situation for us because we only had one global

          11    agreement and after that had been terminated, -we didn't

          12    really have any guidance or governance for what to do




-
          13    outside of the U . S.

          14                  So I asked Raphael what we were going to do

          15    about it.     He confirmed that it was unclear, and he

          16    promised that he would come back -- I think this was in the

          17    beginning of the year - - come back with a conclusion or a

          18    solution for how we were going to manage it , but I never

          19    heard back from him.

          20         Q        To your knowledge, has Align closed the

          21    TRIOS/Invisalign interface outside of the U.S.?

          22         A        No, it's still open today.

          23         Q        Do you have any information about why Align is

          24    still accepting TRIOS scans outside the U. S . ?




•
          25         A        No, I don't.



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             1        Q      Did Align get any benefit from terminating the

                 scanner agreement?

                      A      Well, obviously they had clear visibility into

            4    who our customers were and, you know, from the letter that

            5    we looked at before, they approached all of the TRIOS

            6    customers with a very attractive offer where they could get

            7    50 percent off on an iTero scanner.

            8                And, also, since they -- since they announced

            9    the termination and things around it just before Christmas,

           10    we heard back from doctors that had already gone on

           11    Christmas holiday and didn't come back until sometime in

           12    January that they had very little time to make a decision,




-
           13    and a lot of people felt forced to take the offer and --

           14    because they had to keep their business going, basically.

           15         Q      Going back to your comment about the TRIOS

           16    customer base, why would a doctor make the switch to iTero?

           17         A      Well, for many doctors, the Invisalign business

           18    is a significant part of their business.     It's a

           19    significant part of their revenue stream.     And so if they

           20    can ' t maintain that business, they basically had to buy the

           21    iTero scanner .

           22         Q     Did you attend the AAO Align town hall meeting

           23    in Washington, D.C., in May 2018?

           24         A     Yes, I did.




•
           25         Q     Who from Align participated in that town hall?



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                     A      That would have been their g�neral counsel,

                Roger George, it would have been their general manager for

                North America, Chris Puco, and I believe the CTO, Zelko

           4    Relic.

           5         Q     Was 3Shape brought up during Align ' s comments at

           6    the town hall meeting?

           7         A     Yeah.    There were basically three topics on the

           8    agenda and 3Shape was the first topic.     And I think it was

           9    Roger George who explained -- I mean, they get a chance to

          10    explain the situation, and they said that they felt --

          11    Align felt that the partnership with 3Shape had gone in a

          12    wrong direction from their perspective, and, therefore,




-
          13    they wanted to bring back some of the old IP issues, and,

          14    therefore, they had to terminate the interface.

          15         Q     Can you turn to RX-1290 in your binder.

          16         A     Yes.

          17         Q     Do you recognize this exhibit?

          18         A     Yes.    This is a transcript from the town hall

          19    meeting.

          20         Q     Mr. Hyldal, knowing what you know today, would

          21   3Shape have made the investments that it did in creating

          22    the interface and validating the TRIOS scanner?

          23         A     No, we would not.    I mean, it was a waste of

          24   time and a waste of money.      We're basically back to square




•
          25   one, where we were when we started in 2013, only with the



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                difference that, you know, we. haven't had any opportunity

                to promote our other clear aligner partners and promote our

                software, and so we kind of lost a lot of time in that

           4    perspective.

           5           Q     Is that because you were promoting Invisalign?

           6           A     We were promoting Invisalign during that period,

           7    yes.

           8           Q     And it was more than the other clear aligners?

           9           A     We did not really promote any of the other clear

          10    aligners, according to the agreement we had with Align.

          11                 MR. PATNAIK:     I. pass the witness, Your Honor.

          12                 JUDGE CHENEY:     Is there any cross-examination of




•
          13    this witness?

          14                 MR•. JACOBS:    There is, Your Honor.

          15                              CROSS-EXAMINATION

          16   BY MR. JACOBS:

          17           Q     Good afternoon, Mr. Hyldal.      It's good to see

          18    you again.

          19           A     Likewise.

          20           Q     Thank you for coming to Washington D.C.      We

          21   appreciate it.

          22           A     Thank you.

          23           Q     You mentioned that you were responsible at

          24   3Shape for negotiating the interoperability agreement,




•
          25   right?



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                     A

                     Q
                            Correct.

                            So you have pretty deep knowledge relating to

                that agreement.

           4               That would be true, right?

           5         A     Yes, I would say so.

           6         Q     And let's just level set.

           7               You admit that there was absolutely nothing

           8    improper with Align's decision to terminate the

           9    interoperability agreement.

          10               You admit to that, correct?

          Ll         A     • That is correct.




•
          12         Q     In fact, the interoperability agreement

          13    expressly states that either party can terminate for

          14    convenience, right?

          15         A     I believe so, yeah.

          16         Q     As long as 30 days' notice is provided, it was

          17    mutually agreeable to both companies that it could be

          18    terminated at will, right?

          19         A     Right.

          20         Q     And Align did, in fact, provide that 30 days'

          21    notice to 3Shape that the interoperability agreement was

          22    being terminated.

          23               Fair enough?

          24         A     Fair enough.




•
          25         Q     The agreement, j ust so we all understand it,



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                only had a three-year term .



                     A
                             That's true as well, isn't it, sir?

                             As I recall it, yes.

           4         Q       So it was set to expire in December of 2018

           5    under the express provisions of the agreement.

           6                 True, sir?

           7         A       Yeah, I believe so.

           8         Q       Now, you agree, sitting here today, that even if

           9    Align's motive for terminating the interoperability

          10    agreement was to maintain its market share in clear

          11    aligners, there would be nothing wrong with that.




•
          12                 You agree with that, right?

          13         A       I believe that they could terminate it at will

          14    or for convenience, yes.

          15         Q       Right.

          16                 So just so we all understand, let's get a clear

          17    answer on this.

          18                 You agree that even if Align's motive for

          19    terminating the interoperability agreement was to maintain

          20    its market share in clear aligners, there's nothing wrong

          21    with that.

          22                 You agree with that, don't you, sir?

          23         A       They could terminate it for convenience, yes.

          24         Q       So there ' s nothing wrong with Align terminating

          25   this agreement if they wanted to keep their market share in



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                clea� aligners.



                      A
                           Yes.

                           Correct.
                                    Correct?



           4          Q    Thank you.

           5               So trying to maintain market share and improve

           6    market share, that's what all companies do.

           7               Fair enough?

           8          A    Fair enough.

           9          Q     Okay.    So Align filed these patent infringement

          10    suits in November of 2017, correct?

          11          A    Yep.

          12               And after that, 3Shape did not ask its U. S.




•
                      Q

          13    resellers to stop selling the products accused of

          14    infringement, did you?

          15          A    No, I don't think we did.

          16          Q     To the contrary.       3Shape continued to encourage

          17    its resellers to sell in the United States the 3Shape

          18    products that were accused of infringement.

          19                True, sir?

          20          A     I don't exactly know what we encouraged them to

          21    do.   I didn't have that dialogue myself.

          22          Q     Are you aware that you have told your resellers

          23    not to sell?

          24          A     No.




•
          25          Q     Thank you.



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                            And you understand, sir, that encouraging the

                sale of products in the United States that infringe another

                company's patents is illegal.

            4               Do you understand that?

           5         A      It sounds reasonable .

           6         Q      You've done nothing since the termination of the

           7    interoperability agreement to stop cases from being

           8    submitted from the TRIOS to the Invisalign in the United

           9    States, have you?

          10         A     No.   We're not in a position to do that.

          11         Q     And you've done nothing to. stop cases outside of




•
          12    the United States.   You haven't written to Align and asked

          13    them to stop that, have you?

          14         A     No, we've not.

          15         Q     And you are benefitting financially each time a

          16    TRIOS submits an Invisalign case.

          17               Fair enough?

          18         A     No, we don't get anything out of that.

          19         Q     Nothing at all, okay.

          20               You joined 3Shape at the end of 2013 ; is that

          21    right?

          22         A     That ' s correct.

          23         Q     When you j oined, you took over the

          24    responsibility within 3Shape for communicating with Align.

          25    I think you ' ve told me that before.



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            2         A

                      Q
                            Is tJ:?.at right?

                            That's correct.

                            Let's go, if we could, and take a look -- you

           4    have a binder from us as well, sir.

            5               MR. JACOBS :    And, Your Honor, I believe this

           6    next document is a confidential internal 3Shape document.

           7                JUDGE CHENEY:       Okay.

           8                Let ' s go off the record for a minute .

           9                (A discussion was held off the record.)

          10                JUDGE CHENEY:       Hearing no objection, we're back

          11    on the record, the public record right now.




•
          12                And where were you leading us, Mr. Jacobs?

          13                MR. JACOBS:     Yes, Your Honor.     There was a

          14    -3Shape document that I was going to look at.        It is

          15    R.X-813C.

          16                Let me do this, Your Honor.        I'll ask some

          17    questions, and if I can get the answers that I need, then I

          18    don't need to pull the document up.         I'll just go ahead and

          19    proceed on the public record, Your Honor.

          20                JUDGE CHENEY:       Okay.

          21         Q      Mr. Hyldal, in 2014, 3Shape and Align were

          22    discussing potential interoperability; is that correct?

          23         A      Yes.

          24         Q      But 3Shape failed its initial prescreening with

          25    Align at that point i n time, right?



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                         A

                         Q
                             No, I don't believe so.

                             3Shape failed due to problems with its

                aligners -- I mean, with its scanners, right?

            4            A   No, I don't think we came to a conclusion on

            5    that.

            6            Q   Okay.

            7                MR. JACOBS:     Let ' s go ahead and -- we're going

            8    to have to, Your Honor, go on the confidential record now.

            9                JUDGE CHENEY:     Okay.   3Shape confidential

           10    record.

           1�                (Confidential session follow s . )




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           2               JUDGE CHENEY:    Okay.    We ' re back on the public

           3    record.

           4    BY MR. JACOBS:

           5         Q     And you looked a little bit at the

           6    interoperability agreement during your direct examination.

           7    It is JX-0163 ; is that right, sir?

           8         A     Yes, that's correct.

           9         Q     Now, the agreement is between 3Shape TRIOS A/S,

          10    and you were not a 3Shape TRIOS A/S employee.

          11               That is correct, right, sir?




•
          12         A     That is correct.

          13         Q     Now, please take a look at section 4 of the

          14    agreement, if you could, , please.

          15         A     Yes.

          16         Q     This provision relates to intellectual property;

          17    is that correct?

          18         A     Correct.

          19         Q     Now, you recall that during your deposition, you

          20    told me that you suggested edits to this provision during

          21    the negotiations that led to the agreement, right, sir?

          22         A     Yes.

          23         Q     The intent of the changes that you made were to

          24    make sure that 3Shape maintained its intellectual property

          25    rights and that Align separately maintained its



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                 intellectu�l property rights, correct, sir?

                      A

                      Q
                             Correct.

                             Now, also section 4 has a statement in it, and I

            4    think we can pull just this statement up.     It's a statement

            5    relating to license, if we could, please.

            6                So within section 4, it states that, No license

            7    or right is granted by implication or otherwise with

            8    respect to any patent, and then it goes on to say, not

            9    specifically set out in the agreement.

           10                So the agreement basically states expressly that

           11    no license is being provided either implicitly or exp�essly




•
           12    with regard to patents that aren't specifically set out in

           13    the agreement, right, Mr. Hyldal?
          , 14        A      Correct.

           15         Q      And specific Align patents are not mentioned

           16    anywhere in the interoperability agreement, true, sir?

           17         A      True.

           18         Q      So, therefore, you agree that clearly Align

           19    maintained all of its intellectual property rights to its

          20     patents notwithstanding that it entered into the

           21    interoperability agreement with 3Shape.     Fair enough?

          22         A       I don't think I can judge the legal conclusion

           23    on that, but it was definitely implicit understanding that

          24     Align was authorizing us to use our scanner for the




•
          25     agreement



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                        Q

                 deposition.
                               Well, I asked you something very similar at your

                                 So you have your deposition in your binder, if

                 you could, please, sir.     And I'm going to direct your

             4   attention to the transcript .      You're going to have a

             5   transcript there, and it's going to have page numbers, and

             6   it's going to have some line numbers.       If you could turn to

             7   page 305, lines 10 through 18.

             8                 And in your deposition, I said, You agree --

            9           A      Just one second.

           10           Q      And it's on the screen in front of you as well,

           11    sir.




•
           12                  I said, You agree that each party maintains its

           13    distinct intellectual property rights under the term of the

           14    scanner agreement, right?

           15                  You said, Unless it specifically mentioned that

           16    is accepted.

           17                  And I said, Right.   And Align's patents are not

           18    specifically mentioned in the scanner agreement.      You can

           19    agree with that, sir?

           20                  And you said, Yes.

           21                  So that was your testimony there and that's

           22    correct today ; isn ' t it, sir?

           23           A      That's correct.

           24           Q      So section 18, if we can turn back to the

           25    agreement, please.     That's JX-0163.



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                            This .is the governing law provision of the

                scanner agreement .   I think you probably remember, sir, we

           3    talked about this a good bit during your deposition, do you

           4    remember that?

           5         A     Yes.

           6         Q     Now, it states in section 18, This agreement and

           7    any dispute or claim arising out of it or in connection

           8    with it, and then it goes on to say, shall be governed in

            9   accordance with the laws of Denmark.

          10               Now, Mr. Hyldal, you understand what the word

          11    " arise" means in this context .   .It means coming out of or

          12    in relation to, right?




•
          13         A     Yes.

          14         Q     So the governing law provision does not state

          15    that it covers a dispute coming out of or in relation to

          16    any intellectual property disputes between the parties.       It

          17    doesn ' t expressly state that, does it?

          18               MR. PATNAIK:   Your Honor, the line of

          19    questioning is basically calling for legal conclusions and

          20    interpretation of a contract .     He's never -- we haven't

          21    asked that h e provide legal opinion.

          22               MR. JACOBS:    Your Honor, if you recall, this is

          23    a position that has been maintained and I believe the Court

          24    ruled with regard to a summary determination motion that

          25    there might be some factual issues that still relate to



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             1   this yery question, and this is the individual who drafted

                 the agreement.    He was involved in the negotiations that

            3    pertained even to this clause.

            4               JUDGE CHENEY:      My memory might not be as good as

             5   yours, Mr. Jacobs.    Can you point any in my order to where

            6    I said there were some factual issues?

            7                MR. JACOBS:     I have to get the order.

            8               JUDGE CHENEY:      I remember a part of the order

            9    that said, if you think there's a problem here, you can go

           10    to a District Court and get an inj unction stopping this

           11    case, and no one-did.     That's the part I remember.




•
           12               MR. JACOBS:      I remember that part as well.   I'm

           13    fine with that part, Your Honor .

           14               JUDGE CHENEY:      No one did that.

           15               MR. JACOBS :     I agree with you, Your Honor.

           16               JUDGE CHENEY :     Okay.

           17               MR. JACOBS:      We'll move on, okay?

           18         Q     So turn to JX-0319 in your witness binder, if

           19    you could, Mr. Hyldal.

           20         A     Yes.

           21         Q     And at the bottom of the first page, there's an

           22    e-mail from Mr. Pascaud to you, among others, it's dated

           23    December 3, 2015.    That was a time period when you were

           24    still negotiating the agreement; is that correct, sir?




•
           25         A     Yes, I would say so.



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                     Q      And you'll see that Mr. Pasca�d wrote to

                Flemming Thorup and he copied you on a message stating

                that, Align was okay with 3Shape's suggested approach

            4   except for any patent IP matters which would need to be

            5   dealt with in the appropriate courts .

            6               You see that language there, sir?

            7        A      Yes.

            8        Q      And you

           9                MR. PATNAIK:      Your Honor, I thought we just

          10    decided we're going to move on from this issue .

          11                MR. JACOBS :     Your Honor, I'm asking him to

          12    clarify exactly what' s in the agreement.      They' ve made this




•
          13    agreement into a big deal during this investigation.          If

          14    they want to drop the issues that they've ra,ised relating

          15    to the agreement, then we're happy to move on, but they

          16    have refused to do so.

          17                MR. PATNAIK:      Your Honor, we lost the venue

          18    issue, and this is all about venue.

          19                MR. JACOBS:      This is about licensing, Your

          20    Honor.   This is about what the agreement relates to, what

          21    it pertains to and where disputes would have to be

          22    resolved.

          23                JUDGE CHENEY-:     Can you-all j ust stop talking for

          24    a minute?

          25                Mr . Patnaik, I think your objection is to a



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                discussion. about the state of mind that is represented in

                JX-319C?     Is that what you're saying?

                              MR. PATNAIK:    No, Your Honor.   My objection is

           4    to talking about the venue provision when we were j ust told

            5   that they're not relitigating the order that we lost on the

           6    motion to transfer.

            7                JUDGE CHENEY:     So what I'm seeing here is that

            8   he's directing the witness's attention to the bottom of

            9   JX-319C and asking about the time period negotiating the

          10    agreement.     Is that your understanding of what the pending

          11    question is about?




•
          12                 MR. JACOBS:     Yes, Your Honor.   It was just

          13    before the agreement was entered into.

          14                 JUDGE CHENEY:     I'm asking Mr. Patnaik.

          15                 MR. PATNAIK :    I wasn't sure what the e-mail was

          16    about.     I j ust saw the choice of law and the Amsterdam and

          17    Copenhagen and the line, except for any patent IP-related

          18    matters which would need to be dealt with in the

          19    appropriate courts, that to me falls under the umbrella of

          20    choice of law, choice of venue.

          21                 JUDGE CHENEY:     Okay.   Overruled.

          22                 Continue, sir.

          23                 MR. JACOBS:     Thank you, Your Honor.

          24         Q       So in response to this e-mail to Mr. Thorup that




•
          25    you were copied on, Mr. Hyldal, you did not oppose what



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                 Mr. Pascaud was expressing in the e-mail, and, in fact, you

                 entered into the agreement just a few weeks later; isn't

            3    that correct, sir?

            4         A     Yes.

            5         Q      So you told me during your deposition,

            6    Mr. Hyldal, that you were not aware of 3Shape monitoring

            7    competitors' patents.      Do you recall that?

            8         A     Can you say that again?

            9         Q      Sure.    You told me during your deposition that

           10   you were not aware of 3Shape monitoring its competitors'

           11    patents.   Do you recall that?




•
           12         A     I don't recall exactly how we say it, but we

           13    don ' t consistently monitor competitors' patents .

           14         Q     In fact, in 2017 you yourself asked for, I think

           15   it was mid part of 2017, a pretty big analysis of Align's

           16    patents; isn't that true, sir?

           17         A     Yes, I believe so.

           18         Q      And, if you recall, as part of your monitoring

           19    of Align's patents, at one point in time, you wrote to

           20    somebody within the company that you might not be able to

           21    use ClinCheck until at least 2020 because of Align's

           22    patents.   Do you recall that correspondence, sir?

           23                MR. PATNAIK:     Your Honor?

           24                JUDGE CHENEY :   What is the objection?

           25                MR. PATNAIK:     We're talking about documents that



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               we. ruled earlier could not be introduced in this court.

                            MR. JACOBS:     Your Honor, it's cross-examination.

                I can refresh his recollection.     I can ask him questions.

           4    I'm not moving to admit this as an exhibit.      It's certainly

           5   fair game for questioning, Your Honor.

           6                JUDGE CHENEY:    Overruled.

           7                MR. JACOBS:     Thank you, Your Honor.

           8         Q      So you did at some point in time indicate with

           9   regard to the study in 2017 that 3Shape might not be able

          10    to make either simulator or ClinCheck until after 2020.

          11                And you. said, That is � problem.




•
          12                Do you recall that, sir?

          13         A      I don't recall the actual wording of how that

          14         Q      It sounds like something you could have said

          15    during that time period?

          16         A      Kind of depends on what the context of the

          17    sentence was.

          18                (Reporter interruption.)

          19                JUDGE CHENEY:     I'm going to re-read the

          20    question.

          21                You did at some point in time indicate with

          22    regard to the study in 2017 that 3Shape might not be able

          23    to make either simulator or ClinCheck until after 2020?

          24                And you said, That is a problem.




•
          25                Do you recall that, sir?



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                           THE WITNESS:     I don't recall exactly how those.

                words were flowing, and I think it needs to be seen in the

                context of which it was written .

           4         Q     Sir, yes or no, do you recall that?

           5         A     I don't recall it to the words .

           6         Q     Sir, yes or no, do you recall that?

           7         A     No, then I don't recall i t .

           8         Q     Can I direct your attention in your binder, if I

           9    could, please, sir, to CX-1602C .

          10               MR. PATNAIK:     Your Honor, I'm not objecting to

          11    the question.     I'm just raising for. the record that this is

          12    one of those documents that we talked about earlier today




•
          13    that were produced late .

          14               MR. JACOBS:      I'm not asking to have this

          15    admitted into evidence, Your Honor.

          16               JUDGE CHENEY:      Okay.

          17               MR. JACOBS:      Thank you, Your Honor.

          18         Q     So I want you to read to yourself, if I could --

          19    if you could, Mr. Hyldal, the e-mail that you wrote on June

          20    26, 2017, at 4: 04 a. m . , and it appears that you wrote it to

          21    a patent agent, a Ninne-Gr0nne within 3Shape.        And if you

          22    could read that whole e-mail and continuation of.       Can you

          23    read that to yourself, sir?

          24         A     Yes.




•
          25         Q     So having read that e-mail to yourself, does



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                that refresh your recollection about whether in June of

                2017, you stated to somebody, a patent agent within the

                company, that it looks like you could not make either

           4    simulator or ClinCheck until 2020, that is a problem?          Does

           5    that refresh your recollection, sir?

           6         A      It does, yes.

           7         Q      Okay.     So let's move on, if we could.   Now, sir,

           8    answer one question for me.     If you had a license in 2017

           9    to Align's patents, there would have been no problem with

          10    making ClinCheck and Simulator at that point in time if you

          11    had a license to their patents, right?      That's correct ,

          12    isn't it?




•
          13         A      Yeah, I would say so .

          14         Q      Thank you, sir.

          15                Now, you stated on direct that you had a

          16    conversation with Mr. Pascaud at some point in time, and

          17    Mr. Pascaud raised some concerns I guess about intellectual

          18    property; is that right?

          19         A      Mm-hmm.

          20         Q      And we talked about this at your deposition.         Do

          21    you recall that?

          22         A      Not exactly, no.

          23         Q      So Mr. Pascaud never said that it's going to be

          24    difficult to engage with 3Shape in an interoperability

          25    situation because actually this conversation between you



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                and Mr . Pascaud �nd Mr . Deichmann took place a little bit

                after the interoperability agreement was entered into.

                you recall that, sir?
                                                                              Do



                        A   Are you referring to the meeting at Greater New

           5    York?

           6            Q   Yes, sir.

           7            A   Okay.

           8            Q   You recall that one now, sir?

           9            A   Yes, I do.

          10            Q   Okay.   And so that was a follow-up meeting after

          11    the agreement. had been ente�ed into, true?

                            Correct.




•
          12            A

          13            Q   And neither you nor Mr. Deichmann ever followed

          14   up on this conversation from Mr. Pascaud, never got back to

          15    him on that one; is that right, sir?

          16           A    I don ' t believe we did, no.

          17            Q   And you did not take any step to check and see

          18    whether what Mr . Pascaud said might be something that

          19    3Shape should be concerned about, did you sir?

          20           A    We did not know anything specific about what he

          21   was referring to.

          22            Q   You didn't take any steps to check and see

          23    whether what Mr. Pascaud said might be something that

          24    3Shape should be concerned about .    That ' s true, isn' t it,

          25    sir?



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                      A

                      Q
                               That ' s correct.

                              Thank you sir.       So you mentioned trade shows

           3     during your direct examination .       3Shape attends a fair

           4     amount of trade shows.       That's correct, right, sir?

           5          A       Yes.

           6          Q       You were at AAO I think you mentioned earlier

           7     this year; is that correct?

           8          A        Correct.

           9          Q        And at these trade shows, 3Shape is displaying

          10     its products such as its TRIOS, its Ortho System software.

          11 ·   They're displaying that to the public and orthodontists,

          12     things of that nature, right, sir?




•
          13          A        Right.

          14          Q        And they demonstrate these products at trade•

          15     shows because they're hoping that somebody will buy the

          16     products.     That's fair, isn't it, sir?

          17          A        Yes.

          18          Q        And you work with resellers in the United

          19     States.     That's correct, isn't it, Mr. Hyldal?

          20          A        Yes.

          21          Q        And you want those resellers to sell your

          22     products to customers in the United States.          That's

          23     something that 3Shape generally wants, right, sir?

          24          A        Correct .

          25          Q        A couple of questions with regard to Splint



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                Designer, I want to confirm, Splint Desig�er is part of

                Ortho System, right?

           3            A      Correct.

           4            Q      And it can be called in Dental System as part of

           5    a separate module, fair enough?

           6            A       Right.

           7            Q       You said Ortho System was delivered to customers

           8    by the cloud .         Do you recall that testimony?

           9            A       Yes.

          10            Q       That was not the case, just so that we're all

          11   .clear, prior to February of 2018, true,, sir?

          12            A       I don't exactly know which date it changed, but

          13    it's correct that in the past, it was done differently.

          14            Q       So just so that we all understand, this case was

          15    filed, and at some point in time after this investigation

          16    was filed, 3Shape decided to provide Ortho System and its

          17    software via the cloud.          Fair enough?

          18            A      At some point in time.      I don't know when it was

          19    done.

          20            Q       But you know it was after the filing of this

          21    case?       You know that, don't you, sir?

          22            A       Yeah, I believe so.

          23        .Q          Now, you discussed some interoperability

          24    discussions, and you mentioned that there was further joint

          25    development scenarios that were discussed between the



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                parties.

                     A
                           T�at's fair, isn't it?

                           Correct.

                           And you, in fact, were at a meeting at one point
           3         Q

           4    in time where Mr. Deichmann and you spoke with Mr. Pascaud

           5    I believe it was at that New York show about some possible

           6    joint ventures between the parties, right?

           7         A      Correct.

           8         Q     And you recall that what Mr. Deichmann proposed

           9    at that meeting was that Align close down its scanner

          10    division and serve as an OEM for 3Shape?     You recall that's

          11    what he proposed, right, sir?

          12                I think he proposed that 3Shape would be willing




•
                     A

          13    to provide Align with scanning technology.

          14         Q      And basically as an OEM, right, sir?

          15         A      I don't think those words were used at the time.

          16         Q     You mentioned that -- Mr. Mack I think at some

          17    point in time you had heard had provided some information

          18    about potential IP concerns; is that right?

          19         A      Yes, I believe so.

          20         Q      There were no patent numbers that you ever heard

          21    about, that's true, right?

          22         A      That's true.

          23         Q      No open threats of lawsuits were raised by

          24    Mr. Mack to anybody directly that you ever heard about?




•
          25    That's right, sir, right?



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                      A

                      Q
                            I didn't hear about that.

                             You mentioned non-exclusivity being important to

            3    3Shape as part of the negotiations with Align.      That's

            4    true, isn't it?

            5         A     Yes.

            6         Q     And so 3Shape made sure that non-exclusivity

            7    actually was in the final written agreement between the

            8    parties, right?

            9         A     Yes.

           10         Q     So if receiving an express license, for example,

           11    was important to 3Shape qS part of the negotiations with




•
           12    Align, you could have asked for and tried to get that into

           13    the interoperability agreement as well.      That's fair

           14    enough, right, sir?

           15         A     Yes.

           16         Q     Now, you testified that 3Shape had put in some

           17    efforts and work as a result of the agreement with Align.

           18    Is that true, sir?

           19         A     Yes.

           20         Q     But you understand at the same time and you

           21    understood all along that the agreement between 3Shape and

           22   Align was mutually terminable at any point in time with 30

           23    days' notice?      You knew that all along, right, sir?

           24         A     Yes .




•
           25               JUDGE CHENEY:     Okay.   Seems like a nice place to



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                stop since it so1,1nds very much like �here you started.

                there going to be more cross-examination?
                                                                                   Is



                               MR. JACOBS :       I have a few more questions

           4    probably, Your Honor.            I can do it now if you want me to .

           5                   JUDGE CHENEY :      Let's do it now.

           6                    MR. JACOBS:      Okay.

           7            Q      Now, you talked a little bit about Align

           8    accepting cases from TRIOS in 2018, I guess even in May of

           9    2018, right?

          10            A      Yes.

          11            Q      You don't think there',s anything wrong with

          12    that.       That's true, right?




•
          13            A       I find it just peculiar, but other than that,

          14    nothing wrong.

          15                    MR. JACOBS:       Thank you.

          16                    I have no further questions, Your Honor.

          17                    JUDGE CHENEY :      Okay.

          18                    MR . PATNAIK :     Your Honor, short redirect so we

          19    can let the witness go so he doesn't have to come back

          20    tomorrow?

          21                    MR. JACOBS:       We're not opposed to that.

          22                    MR. PATNAIK:       I don ' t have much, just a little

          23   . bit.

          24                    JUDGE CHENEY:       Please keep it brief.




•
          25                    MR. PATNAIK:       Thank you, Your Honor.



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               BY MR. PATNAIK:

                        Q
                                    REDIRECT EXAMINATION



                            Mr. Hyldal, you were asked some questions about

           4    the intent of the agreement with respect to Align

           5    maintaining its intellectual property.     Do you remember

           6    that?

           7            A   Yes.

           8            Q   Did you understand that ownership of any patents

           9    was supposed to change hands because of the agreement?

          10            A   No .

          11            Q   What was your understanding?

          12            A   My understanding was that there was an




•
          13    understanding between the two parties that the TRIOS

          14    scanner was -- that 3Shape could use the TRIOS scanner to

          15    scan patients and send the cases to Invisalign.

          16            Q   And how about non-Invisalign cases?

          17            A   True, that was also brought into -- that was

          18    section 1.12, to other types of clear aligner providers,

          19    yes.

          20            Q   You testified before about the Ortho System?

          21            A   We were also -- it was also the intent of the

          22    agreement that 3Shape's existing Ortho software could

          23    continue to be used for orthodontic purposes.

          24            Q   Counsel asked you some questions about




•
          25    expiration of certain Align patents and an e-mail that he



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-          2
            1   discussed.

                       A
                              Do you recall that?

                             Yes.

           3           Q     Do you recall getting any response from your

           4    questions or your comments from Mikal Ninne-Gr0nne?

           5           A     Yes.   There was a brief assessment made of some

           6    patents.

           7           Q     Were there any specific concerns identified?

           8           A     There were some concerns raised, but this was

           9    based on a very early assessment, and we were starting to

          10    explore the area, if you will, and that's the extent that

          11    the investigation was made at -- at th� time.

          12                 And what was the context?      This was 3Shape




•
                       Q

          13    looking into clear aligners?

          14           A     So you're referring to the investigation that

          15    was done in I think it was in June of -- summer of 2017?

          16           Q     Yes.

          17           A     So this was at a time where 3Shape was exploring

          18    what avenues we would be able to take, and that's basically

          19    where we came from at that point in time.

          20           Q     Do you have any familiarity with U.S. antitrust

          21    law?

          22           A     No, I don't.

          23                 MR . JACOBS :   Your Honor, it's outside the scope,

          24    calls for legal testimony, totally irrelevant.

          25                 MR. PATNAIK:     Your Honor, he asked if something



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                 was proper under U . S. antitrust law to this witness.

                               MR. JACOBS:

                 not ask that question.
                                               Your Honor, I will represent I did



            4                  JUDGE CHENEY:     It's just talking about what he

            5    knows.   I think we all know the answer.         I'm going to

            6    overrule the objection.

            7                  MR. PATNAIK:     And I'm going to end with one more

            8    question.

            9                  JUDGE CHENEY:     The last question you asked was,

           10    Do you have any familiarity with U.S. antitrust law?

          , 11               - The answer was, No, I don't.

           12                  I overruled an objection.      And now the ball is




•
          13     in your court.

           14         Q        Do you have any sense of what is proper or

           15    improper under U. S . antitrust law?

           16         A        No, I don't.

           17                  MR. PATNAIK:     No further questions, Your Honor.

           18                  JUDGE CHENEY:     Okay.   Does anyone else have any

           19    questions for this witness before I release him?

          20                   MR . JACOBS:    He may be released, Your Honor,

          21     thank you.

          22                   MR. PATNAIK:    Nothing further, Your Honor.

          23                   JUDGE CHENEY:    Thank you, sir.    I appreciate

          24     your testimony.     It helps me understand the case.      You are




•
          25     released.



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                            THE WITNESS:     Thank yo�.

                             (Witness excused.)

                            JUDGE CHENEY:     Any housekeeping matters anyone

            4   wants to talk about at the end of the day?

            5               MR. JACOBS:     Your Honor, I think that when

            6   Ms. Ondrick was conducting -- questioning a witness, it was

            7   an Internet document that came up and you asked that we

            8   assign a number to it.      CX-1620 is the next number for the

            9   record.

           10               JUDGE CHENEY:     Okay.   So CX-1620 is a printout

           11   of 3Shape's. website purporting to show the different clear

           12   aligner brands that the 3Shape TRIOS is compatible with.




•
           13   Have I characterized that correctly?       Anyone have any

           14   objection to that characterization?

           15               MR. JACOBS:     That's correct, Your Honor.

           16               JUDGE CHENEY:     Okay.   Thank you.   Any other

           17   housekeeping matters?

           18               MR. PATNAIK:    Nothing from us, Your Honor.

           19               MR. JACOBS:     Nothing further, Your Honor.

           20               JUDGE CHENEY:     So because I chided some people

           21   at the beginning of the investigation about not keeping to

           22   their witness estimates, I will note that the 60-minute

           23   examination of Mr. Hyldal went far beyond that.       And I want

           24   to know where you-all stand on time .      Can someone tell me




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           25   some numbers?



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                yesterday.
                             MR. PATNAIK:    Your Honor, we have numbers as of

                               I haven't seen a compilation for today as far

                as the split on the parties' respective time allocations .

           4    But we can do that tonight and meet and confer with counsel

           5    and come to you tomorrow morning with a status check.

           6                 JUDGE CHENEY:    Okay.   I want to hear time when

           7    we reconvene in the morning .     So we've gotten through more

           8    than half of the hearing.      That's great.   And I can tell

           9    from the volume and speed of your voices that everyone is

          10    getting a little bit excited, maybe because you're tired .

          11    This is my pep talk. to you to try ·to remain as professional

          12    as possible.    I know that you're tired because I see the




•
          13    time stamps on your e-mails .     And it looks like you're up

          14    all night.    I don't know how you're doing it.    But maybe go

          15    for a walk tonight.    It's beautiful weather.     Get your

          16    blood pressure lowered.      Think about something other than

          17    this investigation for 15 minutes.      And you're all doing a

          18    yoman's task, and I appreciate all the effort you make to

          19    keep the trial moving and to treat each other with

          20   professionalism and respect and the witnesses.

          21                 If there's nothing else, we're off the record

          22   for the evening.     I ' ll see you tomorrow morning.

          23                 (Whereupon, at 4:39 p. m., the hearing was

          24   adjourned, to be reconvened at 9:00 a.m., on Thursday,




•
          25   September 20, 2018.)



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                                       C O N T E N T S



                                                                             VOIR

           4   WITNESSES:            DIRECT     CROSS   REDIRECT   RECROSS   DIRE

           5   w.c.   BAKEWELL

           6     by Ms. Ondrick        638                   703

           7     by Mr. Ganguly                  680

           8     by Judge Cheney       697

           9   RUNE FISKER

          10     by Mr. Shaw           709

          11     by - Mr. Jacobs                 725

          12    CHRISTOFFER MELCHIOR




-
          13     by Mr. Shaw            759              813

          14     by Ms. Ondrick                  780

          15    KRISTIAN HANSEN

          16     by Mr. Liu             815              832

          17     by Mr. Consilvio                824

          18    ALAN HYLDAL

          19     by Mr. Patnaik         834              904

          20     by Mr. Jacobs                   878

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          25                                                       -- continued --



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           4                                           7 2 9 - 7 4 7 , 755- 758 , 768 - 7 7 9 ,

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           6                                           847-852 , 859-864 , 869-8 7 0 ,

           7                                           874-874 , 885-886

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           9


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          11

                                              E X H I B I T S




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          13    EXHIBITS :                      IDENTIFIED                            RECEIVED

          14    (NONE)

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                                   CERTIFICATE OF REPORTER
                 TITLE: In The Matter O f : Certain Color Intraoral Scanners
                                            and Related Hardware and Software
                 INVESTIGATION NO: 337-TA- 1 0 9 1
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                 NATURE OF HEARING: Hearing
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                 DATE:    9-    8
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•
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